     Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 1 of 108




               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: GENERIC PHARMACEUTICALS           MDL 2724
PRICING ANTITRUST LITIGATION             16-MD-2724-CMR

                                         HON. CYNTHIA M. RUFE
IN RE: BACLOFEN CASES



THIS DOCUMENT RELATES TO:                CLASS ACTION
                                         JURY TRIAL DEMANDED
ALL INDIRECT RESELLER PLAINTIFF
(IRP) ACTIONS
                                         16-BC-27243




                   INDIRECT RESELLER PLAINTIFFS’

         CONSOLIDATED BACLOFEN CLASS ACTION COMPLAINT
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 2 of 108




                                                 TABLE OF CONTENTS

I.     INTRODUCTION ...............................................................................................................1

II.    THE ROLE OF INDEPENDENT PHARMACIES .............................................................6

III.   JURISDICTION AND VENUE ..........................................................................................6

IV.    PARTIES .............................................................................................................................8

       A.         Plaintiffs ...................................................................................................................8

       B.         Defendants ...............................................................................................................9

       C.         Co-conspirators ......................................................................................................10

V.     INTERSTATE COMMERCE ...........................................................................................10

VI.    BACKGROUND ON THE GENERIC DRUG INDUSTRY ............................................11

       A.         Generic drugs are commodity products that compete on price..............................11

       B.         Pricing of generic drugs discourages unilateral price increases ............................14

VII.   THE GENERIC BACLOFEN CONSPIRACY .................................................................16

       A.         Defendants increased the price of Baclofen ...........................................................16

                  1.         Defendants’ dominance over Baclofen sales permitted them to fix prices,
                             and their abrupt price increases are otherwise inexplicable. ......................16

                  2.         Defendants’ collective market dominance permitted them to collude.......17

                  3.         Defendants’ effective prices were remarkably stable before skyrocketing
                             in the Class Period. ....................................................................................17

       B.         As part of the conspiracy, Upsher-Smith And Teva set identical WACs
                  benchmarks. ...........................................................................................................20

       C.         No shortages or other market changes can justify Defendants’ price increases ....21

       D.         Defendants had many opportunities to conspire on Baclofen. ..............................22

                  1.         Investor communications demonstrate Defendants’ intent to fix and
                             maintain supracompetitive prices to realize record profits. .......................32

                  2.         Industry commentary indicates collusion is a plausible explanation for the
                             increase in Baclofen price ..........................................................................38



                                                                  - ii -
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 3 of 108




         E.        Defendants’ conduct in generic drug pricing is under investigation by the United
                   States Congress, the DOJ, and the State Attorneys General. .................................40

                   1.        In response to news reports of the dramatic rise in price of certain generic
                             drugs, Congress launched an investigation into the dramatic rise in price of
                             certain generic drugs. .................................................................................40

                   2.        The DOJ launched a broad criminal investigation into anticompetitive
                             conduct by generic drug manufacturers. ....................................................42

                   3.        Led by the State of Connecticut, 45 attorneys general launched their own
                             investigation of antitrust violations in the generic drug industry. .............48

         F.        The Baclofen market is highly susceptible to collusion ........................................50

VIII.    THE STATUTES OF LIMITATIONS DO NOT BAR PLAINTIFFS’ CLAIMS ............52

         A.        The Statutes of Limitations did not begin to run because Plaintiffs did not and
                   could not discover Defendants’ unlawful conspiracy ............................................52

         B.        Active concealment tolled the Statutes of Limitations ..........................................53

                   1.        Active concealment of the conspiracy .......................................................53

                   2.        Plaintiffs exercised reasonable diligence ...................................................54

IX.      CONTINUING VIOLATIONS .........................................................................................55

X.       DEFENDANTS’ ANTITRUST VIOLATIONS................................................................55

XI.      CLASS ACTION ALLEGATIONS ..................................................................................57

XII.     CAUSES OF ACTION ......................................................................................................61

XIII.    PRAYER FOR RELIEF ..................................................................................................103

XIV. JURY DEMAND .............................................................................................................104




                                                              - iii -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 4 of 108




                                    I.      INTRODUCTION

       1.      Plaintiffs, on behalf of themselves and all other independent pharmacies similarly

situated, bring this action on behalf of a Class (further defined below) of privately held pharmacies

who indirectly purchased generic Baclofen 10 or 20mg tablets (“Baclofen”) manufactured by

Defendants Lannett Company, Inc. (“Lannett”), Par Pharmaceutical, Inc. (“Par”), Teva

Pharmaceuticals USA, Inc. (“Teva”), and Upsher-Smith Laboratories, Inc. (“Upsher-Smith”)

(collectively, “Defendants”).

       2.      In the pharmaceutical industry, the entry of generic versions of branded drugs

usually results in aggressive price competition, which in turn reduces prices for drug wholesalers,

pharmacies, consumers, and third party payers. Defendants here, however, conspired to thwart the

economic benefits of generic competition.

       3.      This action arises out of Defendants’ unlawful scheme to fix, maintain, and stabilize

prices, rig bids, and engage in market allocation concerning Baclofen. As set forth below,

Defendants’ scheme violates Section 1 of the federal Sherman Act, parallel state antitrust laws,

and state consumer protection statutes. Defendants were not alone in subverting the competitive

marketplace for generic pharmaceuticals from 2012 to the present. Defendants’ anticompetitive

conduct in the Baclofen market is part of a larger conspiracy or series of conspiracies involving

many generic pharmaceutical manufacturers and many generic pharmaceuticals.

       4.      Plaintiffs’ allegations are based on personal knowledge of these matters relating to

themselves and upon information and belief as to all other matters. Part of Plaintiffs’ allegations

are based on information made public during ongoing government investigations of Defendants

and other generic pharmaceutical companies for alleged unlawful price fixing and other conduct

in the generic pharmaceutical industry.




                                                -1-
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 5 of 108




       5.       Baclofen is a commonly prescribed muscle relaxant and anti-spastic medication

used primarily to alleviate the signs and symptoms of spasticity resulting from multiple sclerosis

(“MS”), particularly for the relief of flexor spasms and concomitant pain, clonus, and muscular

rigidity. An important drug for MS patients, the United Kingdom’s National Institute for Health

and Care Excellence’s guidance for MS lists Baclofen “as a first-line drug to treat spasticity” in

MS patients.1

       6.       Baclofen has been available in the United States for over 50 years and the market

for Baclofen is mature. Defendants dominate the market for Baclofen, accounting for more than

90% of all generic Baclofen tablet sales in the United States throughout the relevant period.

       7.       Beginning in approximately February 2014, and continuing today (the “Class

Period”), Defendants and co-conspirators engaged in an overarching anticompetitive scheme in

the market for Baclofen to artificially inflate prices through unlawful agreements. Defendants

caused the price of these products to dramatically and inexplicably increase as much as 697%

higher than January 2014 prices. The United States Government Accountability Office (“GAO”)

singled out Baclofen as an example of a generic pharmaceutical that experienced “an extraordinary

price increase.”2

       8.       This increase was the consequence of an agreement among Defendants to increase

pricing and restrain competition for the sale of Baclofen in the United States. Defendants

orchestrated their conspiracy through secret communications and meetings, both in private and at

public events, such as trade association meetings held by the Generic Pharmaceutical Association


       National Institute for Health and Care Excellence, “Multiple sclerosis in adults:
       1

management,” Oct. 2014, https://www.nice.org.uk/guidance/CG186/chapter/1-
Recommendations.
       2
         GAO Report to Congressional Requesters, Generic Drugs Under Medicare (Aug.
2016), available at http://www.gao.gov/assets/680/679055.pdf.


                                               -2-
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 6 of 108




(“GPhA”) (now called the Association for Accessible Medicines),3

                                                                                             , the

Minnesota Multistate Contracting Alliance for Pharmacy (“MMCAP”), the National Association

of Chain Drug Stores (“NACDS”),                                                          , and the

National Pharmacy Forum (“NPF”), among others.

     9.        Defendants’ and other generic pharmaceutical manufacturers’ conduct has resulted

in extensive scrutiny by federal and state regulators, including by the Antitrust Division of the

United States Department of Justice (“DOJ”), the United States Senate, the United States House

of Representatives, and at least 45 attorneys general from 44 states and the District of Columbia

(the “State AGs”). The DOJ empaneled a federal grand jury in this District, which has issued

subpoenas relating to price fixing and other anticompetitive conduct in the generic pharmaceutical

industry, including to Defendants Lannett, Par, and Teva.

     10.       The DOJ and State AGs investigations followed a congressional hearing and

investigation prompted by the National Community Pharmacists Association’s (“NCPA”) January

2014 correspondence to the United States Senate Health Education Labor and Pensions (“HELP”)

Committee and the United States House Energy and Commerce Committee requesting hearings

on significant spikes in generic pharmaceutical pricing.4 The NCPA’s news release reported price

hikes on essential generic pharmaceuticals exceeding 1,000% in some instances, according to its

survey of over a thousand community pharmacists, resulting in patients being forced to leave their



       3
          See Russell Redman, New name for Generic Pharmaceutical Association, CHAIN DRUG
REVIEW (Feb. 14, 2017), available at http://www.chaindrugreview.com/new-name-for-generic-
pharmaceutical-association/.
        4
          News Release, Generic Drug Price Spikes Demand Congressional Hearing,
Pharmacists Say (Jan. 8, 2014), available at http://www.ncpanet.org/newsroom/news-
releases/2014/01/08/generic-drug-price-spikes-demand-congressional-hearing-pharmacists-say.


                                              -3-
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 7 of 108




prescriptions at the pharmacy counter due to increased copays, and forcing more seniors into

Medicare’s coverage gap (or “donut hole”) where they must pay far higher out-of-pocket costs.

     11.       On December 12 and 13, 2016, the DOJ filed its first criminal charges against two

former executives of Heritage Pharmaceuticals: Jeffrey Glazer and Jason Malek. See United States

of America v. Jeffrey A. Glazer, No. 2:16-cr-00506-RBS (E.D. Pa.); United States of America v.

Jason T. Malek, No. 2:16-cr-00508-RBS (E.D. Pa.). The DOJ alleged that both Glazer and Malek

conspired with others “to allocate customers, rig bids, and fix and maintain prices” of generic

glyburide and doxycycline sold in the United States. Each was charged with two felony counts

under the Sherman Act (15 U.S.C. §1). On January 9, 2017, both Glazer and Malek pleaded guilty

to the charges. They continue to cooperate with the DOJ’s ongoing investigation as they await

sentencing.

     12.       The DOJ has publicly acknowledged that its investigation overlaps with MDL

2724. For example, the DOJ filed a motion for a stay of discovery in MDL 2724 noting that:

               Evidence uncovered during the criminal investigation implicates
               other companies and individuals (including a significant number of
               the Defendants here) in collusion with respect to doxycycline
               hyclate, glyburide, and other drugs (including a significant number
               of the drugs at issue here).5

     13.       Soon after the DOJ filed criminal charges, 20 state attorneys general led by the

State of Connecticut also sued generic manufacturers Aurobindo, Citron, Heritage, and Teva, as

well as Mayne and Mylan for bid-rigging, price-fixing and customer allocation in connection with

their sale of glyburide and doxycycline in the United States. On March 1, 2017, the complaint in

the State AG action was amended to, inter alia, add claims of an additional 20 state attorneys




       5
         See Intervenor United States’ Motion to Stay Discovery, In re Generic Pharmaceuticals
Pricing Antitrust Litigation, MDL No. 2724, ECF 279 (E.D. Pa. May 1, 2017).


                                              -4-
             Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 8 of 108




general, bringing the total number of state AGs prosecuting the action to 40. Glazer and Malek

entered into settlement agreements with the attorneys general on March 16, 2017. 6 Commenting

on the scope of its current antitrust investigation, the Connecticut Attorney General (“CTAG”)

George Jepsen stated that “[t]he issues we’re investigating go way beyond the two drugs and six

companies. Way beyond…We’re learning new things every day.”7 On July 17, 2017, 5 additional

attorneys general joined the action by filing a nearly identical complaint and a notice of related

case.8

     14.         As a result of Defendants’ scheme to fix, maintain, and stabilize prices, rig bids,

and engage in market allocation concerning Baclofen, Plaintiffs paid and continue to pay

supracompetitive prices for Baclofen.

     15.         Plaintiffs bring this action against Defendants on account of their past and ongoing

violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3) and the state laws set forth

below. Plaintiffs bring this action both individually and on behalf of (a) a national injunctive class

of all privately held pharmacies in the United States and its territories that indirectly purchased

generic Baclofen manufactured by any Defendant, from February 1, 2014 to the present (“Class

Period”), and (b) a damages class of all privately-held pharmacies in certain states that indirectly

purchased Baclofen manufactured by any Defendant, from February 1, 2014 to the present.




         6
          John Kennedy, Ex-Heritage Execs to Help States Probe Drug Price-Fixing, LAW360
(May 24, 2017)
        7
          Liz Szabo, et al., How Martinis, Steaks, and a Golf Round Raised Your Prescription
Drug Prices, THE DAILY BEAST (Dec. 21, 2016), available at http://thebea.st/2haV9xg (emphasis
added).
        8
          Arkansas v. Aurobindo Pharma USA, Inc., No. 17-cv-1180 (D. Conn.).


                                                  -5-
         Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 9 of 108




                   II.    THE ROLE OF INDEPENDENT PHARMACIES

     16.       There are approximately 22,000 privately-owned independent pharmacies in the

United States, as contrasted with chain drug stores such as CVS, Walgreens, and Rite Aid, and

mass merchandiser or supermarket drug stores such as Wal-Mart, Target and Kroger. Over a

billion prescriptions for U.S. patients are dispensed through independent pharmacies each year.

     17.       Independent pharmacies rarely purchase generic drugs directly from the

manufacturer, and instead acquire drugs almost exclusively from drug wholesalers such as

McKesson Corp., Cardinal Health Inc., or Amerisource Bergen Corp. As one would expect, the

wholesaler’s price includes a percentage markup over the manufacturer’s price. Independent

pharmacies, lacking the sales volume heft and wholesaler relationships enjoyed by their much

larger competitors, have no meaningful ability to negotiate these acquisition costs. They must pay

the price the wholesaler charges. As a result, when drug manufacturers collude to allocate

customers or raise the prices of generic drugs, independent pharmacies end up paying illegally

inflated prices for those drugs.

                             III.   JURISDICTION AND VENUE

       18.     Plaintiffs bring Count One of this action under Section 16 of the Clayton Act (15

U.S.C. § 26) for injunctive relief and costs of suit, including reasonable attorneys’ fees, against

Defendants for the injuries sustained by Plaintiffs and the members of the Classes described herein

by reason of the violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3).

       19.     This action is also instituted under the antitrust, consumer protection, and common

laws of various states and territories for damages and equitable relief, as described in Counts Two

through Four below.




                                               -6-
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 10 of 108




       20.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332(d),

and 1337 and by Section 16 of the Clayton Act (15 U.S.C. § 26). The Court has subject matter

jurisdiction over state-law claims pursuant to 28 U.S.C. §1367.

       21.      Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a) and 22 and 28 U.S.C

§§ 1391(b), (c) and (d); and 1407 and MDL Order dated April 6, 2017 (ECF No. 291), and because,

during the Class Period, Defendants resided, transacted business, were found, or had agents in this

District, and a substantial portion of the affected interstate trade and commerce described below

has been carried out in this District. Venue is also proper in this District because the federal grand

jury investigating the pricing of generic drugs is empaneled here and therefore it is likely that acts

in furtherance of the alleged conspiracy took place here. According to DOJ guidelines, an

“investigation should be conducted by a grand jury in a judicial district where venue lies for the

offense, such as a district from or to which price-fixed sales were made or where conspiratorial

communications occurred.”9

       22.      This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District;

(b) sold Baclofen throughout the United States, including in this District; (c) had substantial

contacts with the United States, including in this District; (d) was engaged in an illegal scheme

and nationwide price-fixing conspiracy that was directed at, had the intended effect of causing

injury to, and did cause injury to persons residing in, located in, or doing business throughout the

United States, including in this District; and/or (e) took overt action in furtherance of the

conspiracy in this District or conspired with someone who did, and by doing so could reasonably




       9
           DOJ, Antitrust Division Manual at III-83.


                                                -7-
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 11 of 108




have expected to be sued in this District. In addition, nationwide personal jurisdiction was

authorized by Congress pursuant to the Clayton Act and by 28 U.S.C. § 1407.

                                        IV.    PARTIES

       A.      Plaintiffs

     23.       Plaintiff West Val Pharmacy (“West Val”) is a privately held independent

pharmacy that has been in business since 1959 and is currently located at 5353 Balboa Boulevard

in Encino, California. West Val Pharmacy indirectly purchased and continues to purchase

Defendants’ generic Baclofen products at supracompetitive prices during the Class Period, and

was thereby injured and suffered damages as a result of Defendants’ unlawful conduct.

     24.       Plaintiff Halliday’s & Koivisto’s Pharmacy (“Halliday’s”) is an independent

pharmacy located at 4133 University Boulevard in Jacksonville, Florida. Halliday’s has served the

Jacksonville community for over 50 years. Halliday’s indirectly purchased and continues to

purchase Defendants’ generic Baclofen products at supracompetitive prices during the Class

Period, and was thereby injured and suffered damages as a result of Defendants’ unlawful conduct.

     25.       Plaintiff Russell’s Mr. Discount Drugs, Inc. (“Russell's”) was a privately held

independent pharmacy located at 334 Depot Street, in Lexington, Mississippi from the time of its

opening in February 1986 until it sold the prescription drugs portion of its business to a pharmacy

chain on July 14, 2016. Russell's indirectly purchased Defendants' generic Baclofen products at

supracompetitive prices during the class period, and was thereby injured and suffered damages as

a result of Defendants’ unlawful conduct.

     26.       Plaintiff Falconer Pharmacy, Inc. (“Falconer”) is a privately held independent

pharmacy located in Falconer, New York. Falconer Pharmacy indirectly purchased and continues

to purchase Defendants’ generic Baclofen products at supracompetitive prices during the Class

Period, and was thereby injured and suffered damages as a result of Defendants’ unlawful conduct.


                                               -8-
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 12 of 108




     27.       Plaintiff Deal Drug Pharmacy (“Deal Drug”) is a privately held independent

pharmacy in Nashville, Tennessee. Deal Drug indirectly purchased and continues to purchase

Defendants’ generic Baclofen products at supracompetitive prices during the Class Period, and

was thereby injured and suffered damages as a result of Defendants’ unlawful conduct.

     28.       Plaintiff Chet Johnson Drug, Inc. (“Chet Johnson”) is a privately held independent

pharmacy in Avery, Wisconsin. Chet Johnson indirectly purchased and continues to purchase

Defendants’ generic Baclofen products at supracompetitive prices during the Class Period, and

was thereby injured and suffered damages as a result of Defendants’ unlawful conduct.

       B.      Defendants

     29.       Defendant Lannett is a Delaware corporation with its principal place of business in

Philadelphia, Pennsylvania. During the Class Period, Lannett sold Baclofen to purchasers in this

District and throughout the United States.

     30.       Defendant Par is a New York corporation with its principal place of business in

Chestnut Ridge, New York. Par is a subsidiary of Endo International plc (“Endo”), an Irish

pharmaceutical company.         In September 2015, Endo completed an acquisition of Par

Pharmaceuticals Holdings, Inc. and its subsidiaries, including Par, from a private investment firm

for about $8 billion in cash and stock. At that time Endo created a combined U.S. Generics

segment that included Par, and Endo’s subsidiary Qualitest, naming the segment Par

Pharmaceutical, Inc. During the Class Period, Par sold Baclofen to purchasers in this District and

throughout the United States.

       31.     Defendant Teva is a Delaware corporation with its principal place of business in

North Wales, Pennsylvania. During the Class Period, Teva sold Baclofen to purchasers in this

District and throughout the United States.




                                               -9-
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 13 of 108




       32.     Defendant Upsher-Smith is a Minnesota corporation with its principal place of

business in Maple Grove, Minnesota. During the Class Period, Upsher-Smith sold Baclofen to

purchasers in this District and throughout the United States.

       33.     Defendants have engaged in the conduct alleged in this Complaint, and/or the

Defendants’ officers, agents, employees, or representatives have engaged in the alleged conduct

while actively involved in the management of Defendants’ business and affairs.

       C.      Co-conspirators

       34.     Various other persons, firms, corporations and entities have participated as co-

conspirators with Defendants in the violations and conspiracy alleged herein, although their

identities are presently unknown to the Plaintiffs. In order to engage in the violations alleged

herein, these co-conspirators have performed acts and made statements in furtherance of the

antitrust violations and conspiracies alleged herein. Plaintiffs may amend this Complaint to allege

the names of additional co-conspirators as they are discovered.

                             V.      INTERSTATE COMMERCE

       36.     Defendants are the leading manufacturers and suppliers of Baclofen sold in the

 United States.

       37.     Baclofen is produced by or on behalf of Defendants or their affiliates in the United

States or overseas.

       38.     During the Class Period, Defendants, directly or through one or more of their

affiliates, sold Baclofen throughout the United States in a continuous and uninterrupted flow of

interstate commerce, including through and into this District.

       39.     The activities of Defendants and their co-conspirators were within the flow of,

intended to, and had a substantial effect on interstate commerce in the United States.




                                              - 10 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 14 of 108




       40.     Defendants’ and their co-conspirators’ conduct, including the marketing and sale

of Baclofen, took place within, has had, and was intended to have, a direct, substantial, and

reasonably foreseeable anticompetitive effect upon interstate commerce within the United States.

       41.     The conspiracy alleged in this Complaint has directly and substantially affected

interstate commerce in that Defendants deprived Plaintiffs of the benefits of free and open

competition in the purchase of Baclofen within the United States.

       42.     Defendants’ agreement to fix, maintain, and stabilize prices, rig bids, and engage

in market allocation concerning Baclofen, and their actual inflating, fixing, raising, maintaining,

or artificially stabilizing Baclofen prices, were intended to have, and had, a direct, substantial, and

reasonably foreseeable effect on interstate commerce within the United States.

              VI.     BACKGROUND ON THE GENERIC DRUG INDUSTRY

       A.      Generic drugs are commodity products that compete on price

       43.     Generic drugs provide a lower-cost but bioequivalent alternative to brand drugs.

Before any generic drug can be marketed, the Food and Drug Administration (the “FDA”) requires

rigorous testing to ensure it has the same strength, quality, safety, and performance as the brand.

       44.     To encourage the production and sale of generic drugs, the Drug Price Competition

and Patent Term Restoration Act of 1984 (the “Hatch-Waxman Act”) simplified the regulatory

hurdles that generic pharmaceutical manufacturers have to clear prior to marketing and selling

generic pharmaceuticals.

       45.     Although equivalent from a safety and efficacy standpoint, generic versions of

brand name drugs are priced significantly below their brand counterparts, and because of this, they

rapidly gain market share from the brand beginning immediately following launch. Indeed, in

every state, pharmacists are permitted (and in many states required) to substitute a generic product




                                                - 11 -
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 15 of 108




for a brand product barring a note from a doctor that the brand product must be dispensed as

written.

       46.      It is well established in economic literature that competition by generic products

results in lower prices for drug purchasers. In the period before generic entry, a brand drug

commands 100% of the market share for that drug and the brand manufacturer can set the price

free from competitive market forces. But once the first lower-priced generic enters, a brand drug

rapidly loses sales due to automatic pharmacy counter substitution, and generics capture as much

as 80% of the market or more within months of launch. And as more generics become available,

generic prices only decline further due to competition among generics, and the brand drug’s share

of the overall market erodes even faster. These cost reductions to drug purchasers were the very

legislative purpose behind the abbreviated regulatory pathway for generic approval under the

Hatch-Waxman Act.

     47.        Generic competition, under lawful and competitive circumstances, reduces drug

costs by driving down the prices of both generic versions of the brand drug and the brand drug

itself, and every year generic drugs result in hundreds of billions of dollars in savings to consumers,

insurers, and other drug purchasers.

     48.        A Federal Trade Commission study found that in a “mature generic market, generic

prices are, on average, 85% lower than the pre-entry branded drug prices.” A mature generic

market, such as the market for Baclofen, has several generic competitors. Because each generic is

readily substitutable for another generic of the same brand drug, the products behave like

commodities, with pricing being the main differentiating feature and the basis for competition




                                                - 12 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 16 of 108




among manufacturers.10 Over time, generics’ pricing nears the generic manufacturers’ marginal

costs. As illustrated in the following chart, the price of a generic drug tends to decrease as more

generic drug manufacturers enter the market:




     49.       Generic competition usually enables purchasers to purchase generic versions of the

brand drug at a substantially lower price than the brand drug. Generic competition to a single

blockbuster brand drug can result in billions of dollars in savings to direct purchasers, consumers,

insurers, local, state, and federal governments, and others. Indeed, one study found that the use of

generic drugs saved the United States healthcare system $1.68 trillion between 2005 and 2014.11




       10
           See, e.g., Federal Trade Commission, Authorized Generic Drugs: Short-Term Effects
and Long-Term Impact, at 17 (Aug. 2011) (“[G]eneric drugs are commodity products marketed
to wholesalers and drugstores primarily on the basis of price.”), available at
https://www.ftc.gov/reports/authorized-generic-drugs-short-term-effects-long-term-impact-
report-federal-trade-commission; U.S. Cong. Budget Office, How Increased Competition from
Generic Drugs Has Affected Proceed and Returns in the Pharmaceutical Industry (July 1998),
available at https://www.cbo.gov/publication/10938.
        11
           GPhA, GENERIC DRUG SAVINGS IN THE U.S. (7th ed. 2015) at 1, available at
http://www.gphaonline.org/media/wysiwyg/PDF/GPhA_Savings_Report_2015.pdf


                                               - 13 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 17 of 108




       B.         Pricing of generic drugs discourages unilateral price increases

     50.          In simple terms, the generic pharmaceutical supply chain flows as follows:

Manufacturers sell drugs to wholesalers. Wholesalers sell drugs to pharmacies. Pharmacies

dispense the drugs to consumers, who pay the full retail price if they are uninsured, or a portion of

the retail price (e.g., a co-pay or co-insurance) if they are insured. The insured consumers’ health

plans then pay the pharmacies additional amounts that are specified in agreements between them

and the pharmacies. These agreements are sometimes arranged by middlemen known as Pharmacy

Benefit Managers (“PBMs”).

     51.          Because the prices paid by purchasers of generic drugs differ at each level of the

market and most of the transactions occur between private parties according to terms that are not

publicly disclosed, the price of a given drug is not always obvious. Market-wide pricing for a

given drug, however, may be observed through the Centers for Medicare & Medicaid Services

(“CMS”) survey of National Average Drug Acquisition Cost (“NADAC”). NADAC was

“designed to create a national benchmark that is reflective of the prices paid by retail community

pharmacies to acquire prescription . . . drugs.”12 “NADAC is a simple average of the drug

acquisition costs submitted by retail pharmacies.”13 In effect, NADAC is “a single national

average.”14 Thus, NADAC is one way to track general price trends in the marketplace.

     52.          While NADAC provides the average price level across all manufacturers of a given

drug, other price measures are manufacturer-specific. Drug manufacturers typically report


       12
          CMS, Methodology for Calculating the National Average Drug Acquisition Cost
(NADAC) for Medicaid Covered Outpatient Drugs at 5, available at
https://www.medicaid.gov/medicaid-chip-program-information/by-topics/prescription-drugs/ful-
nadac-downloads/nadacmethodology.pdf.
       13
            Id. at 15.
       14
            Id.


                                                - 14 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 18 of 108




benchmarks—like Wholesale Acquisition Cost (“WAC”)—for their drugs, which are then

published in compendia used by participants in the pharmaceutical industry. The benchmarks are

not actual transaction prices; rather, they are the manufacturer’s reported list price, which is

sometimes subject to discounts. In order to track manufacturer-specific pricing, this complaint

uses QuintilesIMS’s National Sales Perspectives (“NSP”) data, which “captures 100% of the total

U.S. pharmaceutical market, measuring sales at actual transaction prices rather than using an

average wholesale price” and includes sales by manufacturers into various outlets.15

     53.       When third-party payers (e.g., health plans) pay pharmacies to dispense drugs to

their covered patients, the amount is typically determined with reference to a benchmark or list

price like a WAC. Some third-party payers and PBMs have implemented their own individual

caps—Maximum Allowable Cost (“MAC”)—that set the maximum amounts they will pay

pharmacies for some generic drugs, regardless of the pharmacies’ acquisition costs. A pharmacy

must often dispense the drug at a loss if it cannot find a wholesaler offering the drug at a price or

below the MAC cap.

     54.       Although MAC caps do not apply directly to manufacturers, these caps impose a

restraint on manufacturers’ prices. The MAC cap essentially limits the pharmacies’ discretion to

adjust retail prices upwards, so pharmacies are incentivized to buy from the cheapest wholesaler

and wholesalers to buy from the cheapest manufacturer. This additional pressure on prices means

a generic manufacturer that increases its price for a drug should expect to lose sales to a competitor

with a lower price. Consequently, in the absence of coordinated pricing activity among generic

manufacturers, an individual manufacturer should not be able to significantly increase its price (or



       15
          IMS Institute for Healthcare Informatics, HSRN Data Brief: National Sales
Perspectives at 1, available at
https://www.imshealth.com/files/web/IMSH%20Institute/NSP Data Brief-.pdf.


                                                - 15 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 19 of 108




maintain a higher price in the face of a significantly lower competitor price) without incurring the

loss of a significant volume of sales. In a market with MAC caps, it is unlikely that a generic drug

manufacturer would risk raising its price unless it has been agreed with competitors that they will

raise their prices, too.

                        VII.    THE GENERIC BACLOFEN CONSPIRACY

        A.         Defendants increased the price of Baclofen

              1.      Defendants’ dominance over Baclofen sales permitted them to fix prices,
                      and their abrupt price increases are otherwise inexplicable.

      55.          The market for Baclofen is mature, as generic versions have been on the market

for decades. [redacted]



        56.        A mature generic market, such as the market for Baclofen, has several generic

competitors. As noted above, because each generic is readily substitutable for another generic of

the same brand drug, the products behave like commodities, with pricing being the main

differentiating feature and the basis for competition among manufacturers. In a market free from

collusive activity, over time, generics’ pricing would naturally near (and stay near) the generic

manufacturers’ marginal costs.

        57.        At all times relevant for this lawsuit, there have been at least three manufacturers

of Baclofen on the market. Under accepted economic principles of competition, when there are

multiple generics on the market, prices should remain at highly competitive, historic levels, and

should not increase starkly as they did here absent anticompetitive conduct. Drastic increases in

Baclofen prices are themselves suggestive of Defendants’ collective market dominance: if they

did not already dominate the market, pricing excesses would be disciplined by losing market share

to non-colluding competitors.



                                                  - 16 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 20 of 108




             2.      Defendants’ collective market dominance permitted them to collude.

     58.          During the Class Period, the Defendants dominated the Baclofen market

[redacted]

     59.          In terms of revenue, in 2015, [redacted]

       60.

             3.      Defendants’ effective prices were remarkably stable before skyrocketing
                     in the Class Period.

       61.        Before the Class Period, the effective prices of Defendants’ Baclofen remained

stable for years, as is typical in a mature market. From March 2011 through January 2014, i.e.,

for nearly three years leading up to the price fixing conspiracy, the standard deviation percentage

of mean prices for Defendants Par, Teva, and Upsher-Smith was no more than 8%.

       62.        As illustrated below, Defendants’ effective prices inexplicably increased sharply

beginning in February 2014:



[charts redacted]

     63.          [redacted]

     64.          [redacted]


     65.          [redacted]


     66.          [redacted]


     67.          [redacted]

     68.          [redacted]


     69.          [redacted]



                                                 - 17 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 21 of 108




     70.      [redacted]


     71.      Par: [redacted]

     72.      [redacted]


     73.      [redacted]


     74.      [redacted]


       75.    Lannett: Lannett withdrew from the market in 2012 and did not return until the

Class period had already begun. Instead of competing on price, Lannett re-entered the market at

supracompetitive prices, comparable to the other Defendants. Likewise, even today its prices are

far above Defendants’ pre-conspiracy prices.

       76.    Defendants’ price increases coincide with NADAC increases reported by the

Centers for Medicare & Medicaid Services:




                                               - 18 -
Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 22 of 108
Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 23 of 108
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 24 of 108




       C.        No shortages or other market changes can justify Defendants’ price increases

       78.       During the Class Period, there was no significant increase in the costs of making

Baclofen, no significant decrease in supply, and no significant increase in demand. Nonetheless,

there were extraordinary increases by each of the Defendants in the prices they charged their

customers for Baclofen. Such price increases in a commodity product for which there were no

significant increases in costs or demand and no significant decrease in supply would not have been

in each Defendant’s unilateral self-interest absent the existence of a cartel.

       79.       Federal law requires that drug manufacturers report drug shortages.17 Baclofen is

not listed on the FDA’s list of Current and Resolved Drug Shortages and Discontinuations

Reported to FDA. Baclofen also does not appear on any archived lists of the American Society of

Health-System Pharmacists (“ASHP”) Current Shortage Bulletins from July 3, 2012, through

today, nor does it appear on the current list of ASHP Resolved Shortage Bulletins (which includes

drug shortages dating back to August 2010). None of the Defendants reported any drug shortages

or supply disruptions to the FDA in explanation for the supracompetitive pricing of Baclofen.

       80.       Nor does any change in marketplace explain the rising prices—before the Class

Period, from March 2011 through January 2014, Defendants accounted for around 86% of the

direct sales of Baclofen, and the prices and respective market shares of competitors remained

relatively constant at these levels. During the Class Period, Defendants maintained at least 91%

of the market.

       81.       Notably, Northstar Rx LLC (“Northstar”) and Caraco Pharmaceutical Laboratories,

Ltd. (“Caraco”), which together held less than 10% market share throughout the Class Period and




       17
         FDA Safety and Innovation Act of 2012, Pub. L. No. 112-144, §§ 1001-1008, 126
STAT. 995, 1099-1108.


                                                - 21 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 25 of 108




are not named as Defendants here, did not institute corresponding price hikes, confirming further

the absence of any external market forces that might have caused prices to rise dramatically in

2014. Defendants’ overwhelming market share ensured that a four-way conspiracy would be

profitable and would not risk losing significant market share to other non-colluding competitors.

       D.      Defendants had many opportunities to conspire on Baclofen.18

       82.     During the Class Period, Defendants conspired, combined, and contracted to fix,

maintain, and stabilize prices, rig bids, and engage in market allocation concerning Baclofen,

which had the intended and actual effect of causing Plaintiffs and the other members of the

proposed Classes to pay artificially inflated prices above prices that would exist if a competitive

market had determined prices for Baclofen.

       83.     Beginning in February 2014, Defendants collectively caused the price of Baclofen

to increase dramatically. Defendants’ conduct cannot be explained by normal competitive forces.

It was the result of an agreement among Defendants to increase pricing and restrain competition

for the sale of Baclofen in the United States. The agreement was furthered by discussions held at

meetings and industry events hosted by the GPhA,             , MMCAP, NACDS, and                as

well as other meetings and communications.

       84.     To sustain a conspiracy, conspirators often communicate to ensure that all are

adhering to the collective scheme. Here, such communications occurred primarily through (1)

trade association meetings and conferences, (2) private meetings, dinners, and outings among

smaller groups of employees of various generic drug manufacturers, and (3) individual private



       18
           The allegations included in this section pertaining to the     , MMCAP, NACDS,
and          are based in part upon documents produced to plaintiffs pursuant to subpoenas duces
tecum issued in In re Propranolol Antitrust Litigation, No. 16-cv-9901 (S.D.N.Y.), prior to its
transfer to this MDL, 2724.


                                              - 22 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 26 of 108




communications between and among Defendants’ employees through use of the phone, electronic

messaging and similar means.

       85.    These secret, conspiratorial meetings, discussions, and communications helped to

ensure that all Defendants agreed to participate in, implement, and maintain an unlawful bid-

rigging, price-fixing, and market and customer allocation scheme.

       86.    The industry intelligence-gathering reporting firm Policy and Regulatory Report

has reportedly obtained information regarding the investigation of generic drug companies by the

DOJ, and has indicated that the DOJ is investigating the extent to which trade associations and

industry conferences have been used as forums for collusion among competing generic drug

companies.19 The State AGs have similarly noted the centrality of trade associations and industry

conferences in their investigation stating that they have uncovered evidence that certain generic

drug companies “routinely coordinated their schemes through direct interaction with their

competitors at industry trade shows, customer conferences, and other events, as well as through

direct email, phone, and text message communications.”20

       87.    Defendants were members of numerous trade associations, which they used to

facilitate their conspiratorial communications and implement their anticompetitive scheme to

raise, maintain, and stabilize the prices of Baclofen, and how to engage in market allocation for

Baclofen, including, but not limited to, GPhA, the NACDS, and           . In addition, Defendants

regularly attended industry events hosted by the MMCAP and the



       19
           Eric Palmer, Actavis gets subpoena as DOJ probe of generic pricing moves up food
chain, FIERCEPHARMA (Aug. 7, 2015), available at http://www.fiercepharma.com/story/actavis-
gets-subpoena-doj-probe-generic-pricing-moves-food-chain/2015-08-07.
        20
           CTAG Website, Press Release, 40 State Attorneys General Now Plaintiffs in Federal
Generic Drug Antitrust Lawsuit (Mar. 1, 2017), available at
http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341.


                                             - 23 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 27 of 108




       88.     The GPhA (now called the Association for Accessible Medicines) is the “leading

trade association for generic drug manufacturers.”21 GPhA was formed in 2000 from the merger

of three industry trade associations: the Generic Pharmaceutical Industry Association, the National

Association of Pharmaceutical Manufacturers, and the National Pharmaceutical Alliance.

       89.     GPhA’s website touts, “[b]y becoming part of GPhA, you can participate in shaping

the policies that govern the generic industry” and lists its “valuable membership services, such as

business networking opportunities, educational forums, access to lawmakers and regulators, and

peer-to-peer connections.”22 GPhA’s “member companies supply approximately 90 percent of the

generic prescription drugs dispensed in the U.S. each year.”

       90.     Defendants Par and Teva were regular members of the GPhA during the Class

Period. Regular members “are corporations, partnerships or other legal entities whose primary

United States business derives the majority of its revenues from sales of (1) finished dose drugs

approved via ANDAs; (2) products sold as authorized generic drugs; (3) biosimilar/biogeneric

products; or (4) DESI products.”23

       91.     Several of Defendants’ high-ranking corporate officers have served on GPhA’s

Board of Directors before and during the Class Period, including Debra Barrett, Senior Vice

President of Government and Public Affairs for Teva (2012-2013, 2015-2016), Allan Oberman,

President & CEO of Teva (2014), and Tony Pera of Chief Commercial Officer of Par (2015-2016).




       21
           Ass’n for Accessible Medicines, The Association, available at
http://www.gphaonline.org/about/the-gpha-association.
        22
           Ass’n for Accessible Medicines, Membership, available at
http://www.gphaonline.org/about/membership.
        23
           Id.


                                              - 24 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 28 of 108




       92.     In addition, Former Heritage CEO, Jeffrey Glazer, who pleaded guilty to federal

criminal charges relating to the price fixing and other anticompetitive activity concerning generic

drugs, also served on GPhA’s board of directors.

       93.     The NACDS is a national trade association representing chain pharmacies. Its

members include generic drug manufacturers, wholesalers, and retail chain pharmacies. NACDS

holds regular industry events, including annual and regional conferences, which Defendants and

other generic drug manufacturers attended, including the annual Total Store Expo.

       94.




                                      .

       95.     According to its website, MMCAP is a “free, voluntary group purchasing

organization for government facilities that provide healthcare services. MMCAP has been

delivering pharmacy and healthcare value to members since 1985. MMCAP’s membership

extends across nearly every state in the nation, delivering volume buying power. Members receive

access to a full range of pharmaceuticals and other healthcare products and services; such as,

medical supplies, influenza vaccine, dental supplies, drug testing, wholesaler invoice auditing and

returned goods processing.”

       96.     MMCAP’s Charter provides that “[i]n 1989, the Minnesota Department of

Administration, an agency of the State of Minnesota, began a cooperative purchasing venture



                                                                        .         .


                                              - 25 -
Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 29 of 108
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 30 of 108




            a.      Lannett: Arthur Bedrosian, President & CEO; William Schreck, COO;
                    Justin McManus, Director, National Accounts; Kevin Smith, VP Sales
                    & Marketing; Tracy Sullivan, National Accounts Manager; Laura
                    Carotenuto, National Accounts Representative;

            b.      Par: Jon Holden, Vice President of Sales; Renee Kenney, Senior
                    Advisor Generic Sales; Karen O’Connor, Vice President National
                    Accounts; Lori Minnihan, Manager, Pricing & Analytics; Warren
                    Pefley, Director, National Accounts; Charles “Trey” Propst, Vice
                    President, National Accounts; Michael Reiney, Vice President, Sales;

            c.      Teva: Theresa Coward, Senior Director of Sales; David Rekenthaler,
                    Vice President, Sales; Maureen Cavanaugh, Senior Vice President and
                    Chief Operating Officer N.A. Generics; Kevin Galowina, Head of
                    Marketing Operations; Jessica Peters, Manager of Corporate Accounts;
                    Allan Oberman, President and CEO Teva Americas Generics; and

            d.      Upsher-Smith: Scott Hussey, Senior Vice President, Sales; Brad
                    Leonard, Senior Director, National Accounts.

       103.      On October 28-30, 2013, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from all Defendants.

       104.      On December 3, 2013, NACDS held its 2013 NYC Week and annual foundation

dinner in New York City, which was attended by the following representatives from Defendants:

            a. Teva: Theresa Coward, Senior Director of Sales; David Rekenthaler, Vice
                  President, Sales; Maureen Cavanaugh, Senior Vice President and Chief
                  Operating Officer N.A. Generics; and

            b. Upsher-Smith: Scott Hussey, Senior Vice President, Sales; Jim Maahs,
                  Vice President, Commercial Portfolio Management; Mike McBride,
                  Vice President Partner Relations.

       105.      On February 19-21, 2014, GPhA held its Annual Meeting in Orlando, Florida that

was attended by representatives from Defendants Teva, Par, and Upsher.

     106.        [redacted]




                                              - 27 -
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 31 of 108




       107.     On April 26-29, 2014, NACDS held its 2014 annual meeting in Scottsdale, Arizona.

NACDS’s 2014 annual meeting was attended by the following representatives from Defendants,

who were key executives for generic drug sales and pricing:

             a. Par: Jon Holden, Vice President of Sales; Paul Campanelli, President;
                   Renee Kenney, Senior Advisor Generic Sales;

             b. Teva: Theresa Coward, Senior Director of Sales; David Rekenthaler, Vice
                   President, Sales; Maureen Cavanaugh, Senior Vice President and Chief
                   Operating Officer N.A. Generics; Allan Oberman, President and CEO
                   Teva Americas Generics; and

             c. Upsher-Smith: Scott Hussey, Senior Vice President, Sales; Brad Leonard,
                   Senior Director, National Accounts; Jim Maahs, Vice President,
                   Commercial Portfolio Management; Mark Evenstad, CEO; Rusty Field,
                   President.

       108.     On May 12-15, 2014, MMCAP held its National Member Conference in

Bloomington, Minnesota. At MMCAP’s 2014 National Member Conference, topics included

“RFPs under consideration for Pharmacy,” “contract evaluation,” and “pharmaceutical price

increases.” At the MMCAP conference, a Heritage employee met in person and discussed price

increase strategies with a number of different competitors and was able to personally confirm

agreement to raise prices of at least one drug (glyburide).

       109.     MMCAP’s May 12-15, 2014 National Member Conference was attended by the

following representatives from Defendants, who were key executives for generic drug sales and

pricing:

             a. Lannett: Tracy Sullivan, National Account Manager;

             b. Teva: Nick Gerebi, National Account Manager;

             c. Upsher-Smith: Michelle Brassington, Regional Account Manager;




                                               - 28 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 32 of 108




       110.




       111.     On June 3-4, 2014, GPhA held a meeting in Bethesda, Maryland that was attended

by representatives from all four Defendants, including Lannett, Par, Teva, and Upsher-Smith.

       112.     On August 23-26, 2014, NACDS held its 2014 Total Store Expo at the Boston

Convention Center in Boston, Massachusetts. NACDS’s August 2014 Total Store Expo was

attended by the following representatives from all Defendants, who were key executives for

generic drug sales and pricing:

           a.      Lannett: Justin McManus, Director, National Accounts; Kevin Smith,
                   VP Sales & Marketing; Tracy Sullivan, National Accounts Manager.

           b.      Par: Jon Holden, Vice President of Sales; Renee Kenney, Senior
                   Advisor Generic Sales; Lori Minnihan, Manager, Pricing & Analytics;
                   Warren Pefley, Director, National Accounts; Charles “Trey” Propst,
                   Vice President, National Accounts; Michael Reiney, Vice President,
                   Sales;

           c.      Teva: David Rekenthaler, Vice President, Sales; Maureen Cavanaugh,
                   Senior Vice President and Chief Operating Officer N.A. Generics;
                   Kevin Galowina, Head of Marketing Operations; Jessica Peters,
                   Manager of Corporate Accounts; Nisha Patel, Director of National
                   Accounts;




                                             - 29 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 33 of 108




           d.      Upsher-Smith: Scott Hussey, Senior Vice President, Sales; Brad
                   Leonard, Senior Director, National Accounts; Jim Maahs, Vice
                   President, Commercial Portfolio Management.

       113.     On October 27-29, 2014, GPhA held a meeting in Bethesda, Maryland that was

attended by representatives from all Defendants.

       114.     On December 3, 2014, NACDS held its 2014 NYC Week and annual foundation

dinner in New York City, which was attended by the following representatives from Defendants,

who were key executives for generic drug sales and pricing:

           a. Teva: Theresa Coward, Senior Director of Sales; David Rekenthaler, Vice
                 President, Sales; Maureen Cavanaugh, Senior Vice President and Chief
                 Operating Officer N.A. Generics; Jessica Peters, Director National
                 Accounts;

           b. Upsher-Smith: Scott Hussey, Senior Vice President, Sales; Jim Maahs,
                 Vice President, Commercial Portfolio Management; Mike McBride,
                 Vice President Partner Relations.

       115.     In 2015, and 2016, Defendants continued to regularly attend trade association

meetings, conferences and events, including: i) the February 9-11, 2015 GPhA Annual Meeting in

Miami, Florida; ii) the

                                                                                          ; iii) the

April 25-28, 2015 NACDS Annual Meeting in Palm Beach, Florida;

                                    ; v) the June 9-10, 2015 GPhA meeting in Bethesda, Maryland;

vi) the August 22-25, 2015 NACDS Total Store Expo in Denver, Colorado; vii) the November 2-

4, 2015 GPhA meeting in Bethesda, Maryland; viii) the June 12-16,

                   ; and (ix) the August 6-9, 2016, NACDS 2016 Total Store Expo in Boston,

Massachusetts.

       116.     As uncovered in the State AGs’ ongoing investigation, at these various conferences

and trade shows, representatives from Defendants, as well as other generic drug manufacturers,



                                              - 30 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 34 of 108




discussed their respective businesses and customers. These discussions would occur at social

events, including lunches, cocktail parties, dinners, and golf outings, that usually accompanied

these conferences and trade shows. Defendants’ employees used these opportunities to discuss

and share upcoming bids, specific generic drug markets, pricing strategies and pricing terms in

their contracts with customers.25

       117.    In conjunction with meetings at conferences and trade shows, representatives of

generic drug manufacturers get together separately, in more limited groups, allowing them to

further meet face-to-face with their competitors and discuss their business. In fact, high-level

executives of many generic drug manufacturers get together periodically for what at least some of

them refer to as “industry dinners.”26

       118.    A large number of generic drug manufacturers, including Defendants Lannett, Par,

and Teva, are headquartered or have major offices in close proximity to one another in New Jersey,

and eastern Pennsylvania, giving them easier and more frequent opportunities to meet and collude.

For example, in January 2014, at a time when or shortly before the prices of a number of generic

drugs, including Baclofen, were soaring, at least thirteen high-ranking male executives, including

CEOs, Presidents, and Senior Vice Presidents of various generic drug manufacturers, met at a

steakhouse in Bridgewater, New Jersey.

       119.    Generic drug manufacturer employees also get together regularly for what is

referred to as a “Girls’ Night Out” (“GNO”), or alternatively “Women in the Industry” meetings

and dinners.   During these GNOs, meetings and dinners, these employees meet with their



       25
           See, e.g., Amended Complaint (Public Version), Connecticut v. Aurobindo Pharma
USA, Inc., No. 16-cv-2056, ECF 168 (D. Conn.), at ¶¶ 50-52, available at
http://www.ct.gov/ag/lib/ag/press_releases/2016/20161215_gdms_complain.pdf
        26
           Id. at ¶¶ 53-60.


                                              - 31 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 35 of 108




competitors and discuss competitively sensitive information. Several different GNOs were held

in 2015, including: (1) in Baltimore, Maryland in May, and (2) at the NACDS conference in

August.

       120.      Through these various interactions, Defendants’ employees are often acutely aware

of their competition and, more importantly, each other’s current and future business plans. This

familiarity and opportunity often leads to agreements among competitors to fix prices or to allocate

a given market so as to avoid competing with one another on price.

       121.      Defendants also routinely communicate and share information with each other

about bids and pricing strategy. This can include forwarding bid packages received from a

customer (e.g., a Request for Proposal or “RFP”) to a competitor, either on their own initiative, at

the request of a competitor, or by contacting a competitor to request that the competitor share that

type of information.

       122.      Additionally, Defendants share information regarding the terms of their contracts

with customers, including various terms relating to pricing, price protection, and rebates.

Defendants use this information from their competitors to negotiate potentially better prices or

terms with their customers, which could be to the ultimate detriment of consumers.

            1.      Investor communications demonstrate Defendants’ intent to fix and
                    maintain supracompetitive prices to realize record profits.

       123.      Defendants’ public statements and admissions in their investor communications

show that Defendants realized record revenues during the Class Period and emphasize a

commitment to increasing generic pharmaceutical prices as well as maintaining them at

supracompetitive levels.

       124.      Lannett: On February 7, 2013, Lannett’s CEO Arthur P. Bedrosian stated in an

earnings call:



                                               - 32 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 36 of 108




              I could just say that we're very capable of raising prices and we tend
              to sometimes lead the market. We see opportunities to raise a price,
              we take it. We don't sit back and wait for someone else to do it. So
              you might say we're a little more aggressive in the pricing arena. I'd
              just rather not focus on which products they were, which could
              negatively impact us and send the wrong message to my competitors
              who might think they can get my customers away by lowering the
              price.

       125.   On September 10, 2013, Mr. Bedrosian stated in an earnings call:

              We’re not a price follower. We tend to be a price leader on price
              increasing and the credit goes to my sales vice president. He takes
              an aggressive stance towards raising prices. He understands one of
              his goals, his objectives as a sales vice president is to increase profit
              margins for the company. And he’s the first step in that process. I
              can reduce costs and manufacturing efficiencies, but it has to be
              combined with sales increase, a profit increase, as I should say, by
              the salespeople. And he’s done a good job there. With 1 or 2
              exceptions, we’ve tended to lead in the way of price increases. We
              believe that these prices are important. We need to try raising
              them. Sometimes, it doesn’t stick and we have to go back and
              reduce our price, and other times it does. I am finding a climate out
              there has changed dramatically and I see more price increases
              coming from our competing – competitors than I’ve seen in the
              past. And we’re going to continue to lead. We have more price
              increases planned for this year within our budget. And hopefully,
              our competitors will follow suit. If they don’t, that’s their issue. But
              our plan is to raise prices on any product that we think we can or we
              haven’t raised a price.

       126.   During the same call, Mr. Bedrosian stated:

              We’re seeing more responsibility on the part of all of our
              competitors, I believe, because all of us are facing the same costs. .
              . . So I would expect that all the companies are not going to behave
              like they have in the past. And I suspect you’re going to see more
              price increases in the generic marketplace or certainly less price
              erosion in the marketplace because of that.

       127.   During the same call, Mr. Bedrosian was asked by an analyst for a reaction to a

competitor’s recent and significant price increase on Levothyroxine. Mr. Bedrosian responded:

“You mean after I sent them the thank you note?” He then went on to say:




                                               - 33 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 37 of 108




               I’m always grateful to see responsible generic drug companies
               realize that our cost of doing business is going up as well. . . . So
               whenever people start acting responsibly and raise prices as opposed
               to the typical spiral down of generic drug prices, I’m
               grateful. Because Lannett tends to be active in raising prices.

       128.    On November 7, 2013, Mr. Bedrosian stated during an earnings calls:

               I don't really see anything significant on the horizon that could cause
               us any pain, quite frankly. We're still conservatively run. We're still
               careful how we spend money. We still realize we're in a commodity
               business. While we're enjoying the success of the company, it's not
               getting to our heads in any way.

       129.    On the same call, Lannett’s CFO Martin P. Galvan signaled that these were just the

“earlier days of the increase,” which Mr. Bedrosian explained meant that the “price increases that

are going on in the industry [are] going to stick for all the companies.”

       130.    On February 6, 2014, both Mr. Bedrosian and Mr. Galvan confirmed that the price

increases were driving growth at Lannett. Mr. Galvan further stated that “We do believe strongly

that there’s sustainability in some of the price increases.”

       131.    On November 3, 2014, Mr. Bedrosian described one of Lannett’s “rational”

competitors as one that would not do “anything crazy” such as “just going out and trying to grab

market share.” He went on to state, just after all Defendants had implemented their first round of

Baclofen price increases:

               So from my perspective, what we’re seeing here is an opportunity
               to raise prices because everybody has accepted the fact that our costs
               are going up dramatically and less concerned about grabbing market
               share. We're all interested in making a profit, not how many units
               we sell.

               So it’s really a combination to those things. So I don’t think Levo
               and Digoxin are the only products that would sit here and tell you I
               could raise prices on, because I believe any of the products in our
               product line, including products that we may have just gotten
               approved have those same opportunities underlying them. We look
               at the market and sometimes we’re the first ones to raise a price,



                                                - 34 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 38 of 108




                sometimes we’re not. But we look at everything in line as a potential
                product to have a price increased on.

       132.     On February 4, 2015, Mr. Bedrosian stated during an earnings call:

                If you're saying that the price increases that we've had in place, are
                they sustainable, and are they maintaining? My answer would be
                yes, they continue to hold up.

                As far as whether we talked about any increases for this year, we
                don't usually give a guidance for that. We predict what our revenues
                will be for the year. We're not seeing any declines, generally
                speaking on the price increase products. So they continue to, let's
                say, level off at their new pricing.

       133.     Mr. Bedrosian further stated during the same call:

                So I'm expecting these pricings to really sustain themselves to
                continue. I see people raising prices further, because the generic
                prices were so low, when you're 10% of the brand, that's not because
                the brand overpriced the product by 90%. It's because the generic
                marketplace has so much competition sometimes, people get
                desperate just to unload their inventory that they cut the prices.

                We don't see that kind of behavior sustainable, and we don't see it
                going further into the future. I think you're going to find more capital
                pricing, more – I'll say less competition, in a sense. You won't have
                price wars. You are still going to have competition, because there's
                a lot of generic companies in the market. I just don't see the prices
                eroding like they did in the past.

       134.     On May 6, 2015, Mr. Galvan stated in response to an analyst question that recent

“quarter-over-quarter strength” was driven by Baclofen.

       135.     A May 2015 presentation by Mr. Bedrosian and Lannett’s CFO noted that one of

Lannett’s strengths was a “track record of selecting products with high profit potential and

manageable competition.”27




       27
            Lannett PowerPoint Presentation, at 7 (May 2015).


                                                 - 35 -
         Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 39 of 108




        136.    On August 25, 2015, Mr. Bedrosian again signaled continuing price increases

because they have been “sustainable” and because “it’s a more rational market we’re in.”

        137.    On August 23, 2016, Mr. Bedrosian summarized that price competition “usually

doesn’t get you to results you want. So, I think a lot of people have learned that lesson by now.”

He described a problem of “some of the dumber newer companies [that] continue to go down that

path” of competing on price. Echoing the attitude of many price-fixers who seek to rationalize

their misconduct, he equated “expertise” with raising prices, and contrasted it with “crazy

behaviors” of companies who seek to gain market share by cutting prices. Mr. Bedrosian also said

that these “occasional” competitors who attempted to compete on price were fortunately “maturing

in the market in realizing they need to make it profit as well.”

        138.    Lannett reported rising revenues in its United States generics business during the

Class Period.

        139.    Par: On February 28, 2014, Endo’s CFO Suketu Upadhyay stated in an earnings

call that:

                [O]ur US generic pharmaceuticals business remained a source of
                strong organic growth in 2014. We believe the base of Qualitest
                products will continue to experience low-double digit revenue
                growth. That growth is primarily driven by an increase in demand
                for products but it also a result of selected pricing opportunities
                within the higher barrier to entry categories.

        140.    On July 31, 2014, Endo’s CEO Rajiv De Silva stated in an earnings call that in the

generics business “there are certain specific situations and market opportunities which we take

advantage of, as do our competitors.”

        141.    On March 2, 2015, Mr. Silva stated in an earnings call that “pricing actions give us

some gross margin benefit.” During the same call, Mr. Upadhyay stated that:




                                               - 36 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 40 of 108




                 The other thing I’d say [] is we exited fourth quarter on Qualitest in
                 the high-40s from a gross margin perspective. We’d expect that
                 business to be in the low-50s going into 2015 and believe we can
                 hold that on a sustained basis.

          142.   In a May 18, 2015, presentation by Endo International plc concerning its acquisition

of Par, Endo noted that “consolidation and maturation of competitors have stabilized the pricing

environment” for generic pharmaceuticals in the U.S.

          143.   On August 8, 2016, Par’s President Paul Campanelli stated in response to a question

about the generics environment: “And typically you want to just be very careful about trying to go

after too much share. You just have got to take a balanced approach.”

          144.   Par reported rising revenues in its United States generics business during the Class

Period.

          145.   Teva: On May 2, 2013, the President and CEO of Teva Americas Generics Allan

Oberman stated in an earnings call: “We have continued to aggressively take pricing looking to

lead the industry forward on products that are low margin products to try and return a decent value

to our company, to our shareholders.”

          146.   On August 1, 2013, Mr. Oberman stated in an earnings call:

                 Then I will just marry that with the comments that we have made
                 about our generic strategy earlier in the year that we are focused on
                 creating shareholder value and not necessarily driving after volume
                 share. I mentioned in the past, we have taken price increases in order
                 to enhance value.

          147.   On February 6, 2014, Teva’s President and CEO Eyal Desheh stated in an earnings

call that “our U.S. generic business is definitely the most profitable part with gross margin of about

50%.” Mr. Desheh went on to comment that the “U.S. generic business is highly profitable” and

Mr. Oberman added that “at the gross profit levels that Eyal was talking about, [the U.S. generics

business] is a very valuable business to Teva and we see it continuing to be on a go-forward basis.”



                                                 - 37 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 41 of 108




          148.    On July 31, 2014, Teva’s President and CEO of the Global Generic Medicines

Group Sigurdur Olafsson stated during an earnings call in response to a question from an analyst

concerning the sustainability of pricing in the United States:

                  Pricing is very important today. Maybe five, six, seven years ago
                  there was never a pricing crisis, especially in the U.S. in the industry,
                  and I think the company due to the consolidation and due to the
                  environment, company take pricing actions whenever they can.

                  The same applies a little bit outside now. We have taken the decision
                  that in some of our markets we look at the portfolio and we take a
                  pricing decision and see if we stay for this molecule or not. So I
                  think the size of Teva helps us in this. This is very important part of
                  the commercial execution going forward to keep this in mind. There
                  has to be a balance in the whole thing, but be being the largest
                  company, being probably [indiscernible] of the overall generic
                  business, this is a very important tool today to maximize the value
                  of the business. And on top of that, there obviously is we need to
                  have the same service level, good quality, the right pipeline to be
                  able to take these actions, but clearly it's important and Teva is
                  probably in back to position than any other company to explore this
                  possibility.

          149.    On October 29, 2015, Mr. Olafsson stated during an earnings call that the “pricing

environment has been quite favorable for generics versus six years ago.”

          150.    Teva reported rising revenues in its United States generics business during the Class

Period.

          151.    Upsher-Smith: Upsher-Smith is privately held and thus does not provide public

communications to investors.

             2.       Industry commentary indicates collusion is a plausible explanation for the
                      increase in Baclofen price

          152.    Comments from industry analysts suggest that collusion is a plausible explanation

for the increase in Baclofen, and other generic pharmaceutical, prices. For instance, Richard Evans

at Sector & Sovereign Research wrote:




                                                   - 38 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 42 of 108




               A plausible explanation [for price increases] is that generic
               manufacturers, having fallen to near historic low levels of financial
               performance are cooperating to raise the prices of products whose
               characteristics – low sales due to either very low prices or very low
               volumes – accommodate price inflation.28

       153.    According to one study, since 2013 approximately one in 19 generic drugs sold in

the United States have undergone major price hikes that may be consistent with collusion:


               Fideres Partners LLP, a London-based consultancy that works with
               law firms to bring litigation against companies, reported
               “anomalous pricing patterns” in scores of generic drugs sold in the
               U.S. from 2013 to 2016. It identified 90 medicines whose prices
               rose at least 250 percent over the three-year period and were
               increased by at least two drug companies around the same time, even
               though there was no obvious market reason for the increases. The
               average price jump among the 90 drugs was 1,350 percent, Fideres
               found.

               “I don’t think the public or even the politicians in the U.S. have any
               idea just how widespread and extreme the phenomenon is,”
               said Alberto Thomas, one of Fideres’s founders.29

       154.    Another study concluded that in 2014, “292 generic medication listings went up by

10% or more, 109 at least doubled in price and 14 went up by ten or more times in price that

year.”30 The GAO Report also noted similar “extraordinary price increases” across many generic

drugs in recent years that could not be linked to any particular cause.




       28
           See Ed Silverman, Generic Drug Prices Keep Rising, but is a Slowdown Coming?,
WALL STREET JOURNAL (Apr. 22, 2015), available at http://blogs.wsj.com/pharmalot/2015/
04/22/generic-drug-prices-keep-rising-but-is-a-slowdown-coming/.
        29
           Liam Vaughan and Jered S. Hopkins, Mylan, Teva Led Peers in “Anomalous” Price
Moves, Study Says, BLOOMBERG (Dec. 22, 2016) available at
https://www.bloomberg.com/news/articles/2016-12-22/widespread-drug-price-increases-point-
to-collusion-study-finds
        30
           David Belk, MD, Generic Medication Prices, TRUE COST OF HEALTH-CARE
available at http://truecostofhealthcare .net/generic_medication_prices/.


                                               - 39 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 43 of 108




       155.      In 2015, the Financial Times reported on Defendant Teva’s planned merger with

Mylan and quoted Mylan as cautioning that it could be blocked by regulators concerned “about

pricing power and potential for drug shortages.”31

       156.      Pennsylvania physicians through the Pennsylvania Medical Society called on state

and federal governments to investigate surging generic prices, believing anticompetitive conduct

was to blame:

                 According to Robert Campbell MD, chair of Physicians Against
                 Drug Shortages and immediate past president of the Pennsylvania
                 Society of Anesthesiologists, surging prices have hit hundreds of
                 mainstay generics, including anesthetics, chemotherapeutic agents,
                 antibiotics, and nutritional intravenous solutions. He believes the
                 surging prices are a result of anti-competitive behavior.

                 “The truth is that drug shortages and price spikes are not terribly
                 complex,” says Dr. Campbell, adding that there’s growing concern
                 within the medical community. “If you consider one simple fact -
                 high demand and low supply at high prices - what possible
                 explanations are there for such a condition?”32

       E.    Defendants’ conduct in generic drug pricing is under investigation by the
       United States Congress, the DOJ, and the State Attorneys General.

            1.      In response to news reports of the dramatic rise in price of certain
                    generic drugs, Congress launched an investigation into the dramatic rise
                    in price of certain generic drugs.

     157.        As noted above, in January 2014, the NCPA sent correspondence to the United

States Senate HELP Committee and the United States House Energy and Commerce Committee

requesting hearings on significant spikes in generic pharmaceutical pricing.




       31
        David Crow, Teva bids for Mylan amid pressure on copycat drugmakers, THE
FINANCIAL TIMES (May 12, 2015), available at https://www.ft.com/content/8ff2fc5a-f513-
11e4-8a42-00144feab7de.
       32
           Pennsylvania Medical Society, Press Release, Rising Generic Drug costs Have
Physicians Raising Red Flags (Feb. 5, 2016), available at http://www.prnewswire.com/news-
releases/rising-generic-drug-costs-have-physicians-raising-red-flags-300216006.html.


                                               - 40 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 44 of 108




     158.      On October 2, 2014, Senator Bernie Sanders (I-VT), Chair of the Subcommittee on

Primary Health and Aging, Senate Committee on Health, Education, Labor and Pensions, and

Representative Elijah E. Cummings (D-MD), the Ranking Member of the House Committee on

Oversight and Government Reform, sent letters to 14 drug manufacturers requesting information

about the escalating prices of generic drugs “used to treat everything from common medical

conditions to life-threatening illnesses.”33

     159.      Senator Sanders and Representative Cummings issued a joint press release,

advising “[w]e are conducting an investigation into the recent staggering price increases for

generic drugs used to treat everything from common medical conditions to life-threatening

illnesses.” They noted the “huge upswings in generic drug prices that are hurting patients” are

having a “‘very significant’” impact threatening pharmacists’ ability to remain in business.34On

February 24, 2015, Senator Sanders and Representative Cummings sent a letter requesting that the

Office of the Inspector General (“OIG”) of the Department of Health and Human Services

“examine recent increases in the prices being charged for generic drugs and the effect these price

increases have had on generic drug spending within the Medicare and Medicaid programs.”35 The

OIG responded to the request on April 13, 2015, advising it would examine pricing for the top 200




       33
           U.S. Senator Bernie Sanders Website, Press Release, Congress Investigating Why
Generic Drug Prices Are Skyrocketing (Oct. 2, 2014), available at:
https://www.sanders.senate.gov/newsroom/press-releases/congress-investigating-why-generic-
drug-prices-are-skyrocketing.
        34
           Id.
        35
           Letter from Bernie Sanders, United States Senator, and Elijah Cummings, United
States Representative, to Inspector Gen. Daniel R. Levinson, Dep’t of Health & Human Servs.
(Feb. 24, 2015), available at http://www.sanders.senate.gov/download/sanders-cummings-
letter?inline=file.


                                               - 41 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 45 of 108




generic drugs to “determine the extent to which the quarterly [Average Manufacturer Pricing]

exceeded the specified inflation factor.”36

       160.      In August 2016, the United States GAO issued its report finding “extraordinary

price increases” on many generic pharmaceuticals including Baclofen.37

            2.      The DOJ launched a broad criminal investigation into anticompetitive
                    conduct by generic drug manufacturers.

       161.      The DOJ opened a criminal investigation into collusion in the generic

pharmaceutical industry on or around November 3, 2014. The DOJ also empaneled a grand jury

in this District at about the same time.

       162.      Initial reports suggest that, at the beginning, the DOJ’s probe was focused on two

generic drugs: digoxin and doxycycline. However, news reports, court filings, and other public

statements have confirmed the sweeping nature of the DOJ’s investigation. Reportedly, the DOJ

believes price-fixing between makers of generic pharmaceuticals is widespread, and its

investigation could become the next auto parts investigation, which is the DOJ’s largest

prosecution to date.38 According to sources cited by Bloomberg, the DOJ investigation already

“spans more than a dozen companies and about two dozen drugs.” 39

       163.      Defendants Lannett, Par, and Teva have each received subpoenas.


       36
            Letter from Inspector Gen. Daniel R. Levinson, Dep’t of Health & Human Servs., to
Bernie Sanders (Apr. 13, 2015), available at http://www.sanders.senate.gov/download /oig-
letter-to-sen-sanders-4-13-2015?inline=file.
         37
            GAO Report to Congressional Requesters, Generic Drugs Under Medicare (Aug.
2016), available at http://www.gao.gov/assets/680/ 679055.pdf.
         38
            Joshua Sisco, DoJ believes collusion over generic drug prices widespread—source,
POLICY AND REGULATORY REPORT (June 26, 2015), available at:
http://www.mergermarket.com/pdf/DoJ-Collusion-Generic-Drug-Prices-2015.pdf
         39
            David McLaughlin and Caroline Chen, U.S. Charges in Generic Drug Probe to be
Filed by Year-End, BLOOMBERG (Nov. 3, 2016), available at
https://www.bloomberg.com/news/articles/2016-11-03/u-s-charges-in-generic-drug-probe-said-
to-be-filed-by-year-end.


                                               - 42 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 46 of 108




       164.    Lannett: Lannett issued a press release on July 16, 2014, that it received a subpoena

from the CTAG in connection with its investigation into whether “anyone engaged in a contract,

combination or conspiracy in restraint of trade or commerce which has the effect of (i) fixing,

maintaining or controlling prices of digoxin or (ii) allocating and dividing customers or territories

relating to the sale of digoxin in violation of Connecticut antitrust law.” 40 In a quarterly report

Lannett disclosed that on November 3, 2014, its “Senior Vice President of Sales and Marketing of

the Company was served with a grand jury subpoena relating to a federal investigation of the

generic pharmaceutical industry into possible violations of the Sherman Act.”41 Lannett reported:

“The subpoena requests corporate documents of the Company relating to communications or

correspondence with competitors regarding the sale of generic prescription medications, but is not

specifically directed to any particular product and is not limited to any particular time period.” 42

       165.    Par: Par disclosed in an SEC Form 10-K for 2014 that it received a subpoena from

the CTAG on August 6, 2014, requesting documents related to digoxin and that it had completed

its response on October 28, 2014.43 Par subsequently received a DOJ subpoena on December 5,

2014, “requesting documents related to communications with competitors regarding [its]

authorized generic version of Covis’s Lanoxin® (digoxin) oral tablets and [its] generic

doxycycline products.”44 In December 2015, Endo Pharmaceuticals Inc. (Par’s parent company)



       40
           Lannett Website, Press Release, Lannett Receives Inquiry from Connecticut Attorney
General (July 16, 2014), available at: http://lannett.investorroom.com/2014-07-16-Lannett-
Receives-Inquiry-From-Connecticut-Attorney-General.
        41
           Lannett, SEC Form 10-Q (Nov. 6, 2014) at 16, available at:
https://www.sec.gov/Archives/edgar/data/57725/000110465914077456/a14-20842_110q.htm.
        42
           Id.
        43
           Par Pharmaceuticals Companies, Inc., SEC 2014 Form 10-K (Mar. 12, 2015), at 37,
available at: https://www.sec.gov/Archives/edgar/data/878088/000087808815000002/prx-
20141231x10k.htm.
        44
           Id.


                                                - 43 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 47 of 108




disclosed that it “received Interrogatories and Subpoena Duces Tecum from the [CTAG]

requesting information regarding pricing of certain of its generic products, including doxycycline

hyclate, amitriptyline hydrochloride, doxazosin mesylate, methotrexate sodium and oxybutynin

chloride.”

        166.    Teva: On August 4, 2016, Teva disclosed in an SEC filing that it received a

subpoena from the DOJ on June 21, 2015, “seeking documents and other information relating to

the marketing and pricing of certain of Teva USA’s generic products and communications with

competitors about such products.”45 Teva also disclosed that on July 12, 2016, it also “received a

subpoena from the Connecticut Attorney General seeking documents and other information

relating to potential state antitrust law violations.”46

        167.    Defendants are not alone. Numerous other generic manufacturers have likewise

received subpoenas in connection with the DOJ and the State AG’s broad investigations into

anticompetitive conduct in the generic drug industry.         Additionally, some of these generic

manufacturers have disclosed that search warrants have been executed or that certain employees

have been separately subpoenaed as part of these ongoing probes.

        168.    The fact that these companies received subpoenas from a federal grand jury is

significant, as is reflected in Chapter 3 of the 2014 edition of the DOJ’s Antitrust Division Manual.

Section F.1 of that chapter notes that “staff should consider carefully the likelihood that, if a grand

jury investigation developed evidence confirming the alleged anticompetitive conduct, the

Division would proceed with a criminal prosecution.”47 The staff request needs to be approved by



        45
           Teva, SEC Form 6-K at 25 (Aug. 4, 2016), available at
https://www.sec.gov/Archives/edgar/data/818686/000119312516671785/d187194d6k.htm.
        46
           Id.
        47
           DOJ, ANTITRUST DIVISION MANUAL (5th ed. 2015) at III-82.


                                                 - 44 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 48 of 108




the relevant field chief and is then sent to the Antitrust Criminal Enforcement Division.48 “The

DAAG [Deputy Assistant Attorney General] for Operations, the Criminal DAAG, and the Director

of Criminal Enforcement will make a recommendation to the Assistant Attorney General. If

approved by the Assistant Attorney General, letters of authority are issued for all attorneys who

will participate in the grand jury investigation.”49 “The investigation should be conducted by a

grand jury in a judicial district where venue lies for the offense, such as a district from or to which

price-fixed sales were made or where conspiratorial communications occurred.”50

       169.    Receipt of federal grand jury subpoenas is an indication that antitrust offenses have

occurred.

       170.    That a target has reportedly applied for leniency is also significant.51 As the DOJ

notes on its web site (http://www.justice.gov/atr/frequently-asked-questions-regarding-antitrust-

divisions-leniency-program):

               5. Does a leniency applicant have to admit to a criminal violation
               of the antitrust laws before receiving a conditional leniency
               letter?

               Yes. The Division’s leniency policies were established for
               corporations and individuals “reporting their illegal antitrust
               activity,” and the policies protect leniency recipients from criminal
               conviction. Thus, the applicant must admit its participation in a
               criminal antitrust violation involving price fixing, bid rigging,
               capacity restriction, or allocation of markets, customers, or sales or
               production volumes before it will receive a conditional leniency

       48
           Id.
       49
           Id. at III-83.
        50
           Id.
        51
           Leah Nylen and Josh Sisco, Generic drug investigation started small before ballooning
to dozen companies, MLEX (Nov. 4, 2016) (“While the Justice Department didn’t have a
whistleblower at the beginning of the investigation, it is understood that [in the summer of 2016]
a company applied for leniency, which grants full immunity to the first company to come
forward and admit to cartel violations.”), available at
http://www.mlex.com/GlobalAntitrust/DetailView.aspx?cid=841053&siteid=191&rdir=1.


                                                - 45 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 49 of 108




               letter. Applicants that have not engaged in criminal violations of the
               antitrust laws have no need to receive leniency protection from a
               criminal violation and will receive no benefit from the leniency
               program.

The DOJ further provides that the leniency applicant must also satisfy the following condition,

among others, to avail itself of the government’s leniency: “[t]he confession of wrongdoing is truly

a corporate act, as opposed to isolated confessions of individual executives or officials.” Id.

       171.    The DOJ’s first charges were made on December 12, 2016, against two generic

industry executives (Glazer and Malek) with criminal counts related to price collusion for generic

doxycycline hyclate and glyburide. See United States of America v. Jeffrey A. Glazer, No. 2:16-

cr-00506-RBS (E.D. Pa.); United States of America v. Jason T. Malek, No. 2:16-cr-00508-RBS

(E.D. Pa.).

       172.    These cases allege that these former senior executives of generic drug maker

Heritage Pharmaceuticals Inc. violated Section 1 of the Sherman Act by participating in

conspiracies to fix prices, rig bids, and engage in market allocation for generic glyburide and

doxycycline. On January 9, 2017, both Glazer and Malek pleaded guilty to the charges. The DOJ

charges mention that Glazer and Malek’s co-conspirators included “individuals that [Glazer]

supervised at his company and those he reported to at his company’s parent[.]”52 Sentencing for

both Glazer and Malek was originally set for April 2017 but was later rescheduled to September

2017 as they continue to cooperate with the DOJ. Evidence reportedly unearthed in the State AG

action shows that Malek compiled a large list of generic drugs and instructed employees to contact




       52
         Transcript of Jan. 9, 2017 Plea Hearing, United States of America v. Jeffrey A. Glazer,
No. 2:16-cr-00506-RBS, ECF 24 at 19 (E.D. Pa.). A similar statement appears in the transcript
from Malek’s plea hearing.


                                               - 46 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 50 of 108




competitors to reach agreement to increase prices and engage in market allocation, and that some

competitors were willing to reach such agreement.

       173.    The DOJ has intervened in MDL 2724 as well as numerous civil antitrust actions

alleging price fixing, bid rigging, and market allocation of generic pharmaceuticals stating that

these cases overlap with the DOJ’s ongoing criminal investigation. For example, in a civil antitrust

action related to the generic pharmaceutical propranolol, the DOJ intervened and requested a stay,

stating that “the reason for the request for the stay is the government’s ongoing criminal

investigation and overlap of that investigation and this case,” and that “the government’s ongoing

investigation is much broader than the [Glazer and Malek] informations that were unsealed.”53

The DOJ filed a brief with the United States Judicial Panel on Multidistrict Litigation noting that,

“The complaints in those civil cases – which typically allege that a group of generic pharmaceutical

companies violated Section 1 of the Sherman Act by conspiring to fix prices and allocate customers

for a particular drug – overlap significantly with aspects of the ongoing criminal investigation.”54

As noted above, the DOJ also filed a motion for a stay of discovery in MDL 2724 stating that:

“Evidence uncovered during the criminal investigation implicates other companies and individuals

(including a significant number of the Defendants here) in collusion with respect to doxycycline

hyclate, glyburide, and other drugs (including a significant number of the drugs at issue here).”55

       174.    The DOJ’s Spring 2017 Division Update notes that:

               Millions of Americans purchase generic prescription drugs every
               year and rely on generic pharmaceuticals as a more affordable

       53
          See Transcript of Hearing, FWK Holdings, LLC v. Actavis Elizabeth, LLC, No. 16-cv-
9901, ECF 112 (S.D.N.Y. Feb. 21, 2017).
       54
          See Memorandum of Amicus Curiae United States of America Concerning
Consolidation, In re Generic Digoxin and Doxycyclyine Antitrust Litig., MDL No. 2724, ECF
284 (J.P.M.L. Mar. 10, 2017).
       55
          See Intervenor United States’ Motion to Stay Discovery, In re Generic
Pharmaceuticals Pricing Antitrust Litigation, MDL No. 2724, ECF 279 (E.D. Pa. May 1, 2017).


                                               - 47 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 51 of 108




                  alternative to brand name medicines. The Division’s investigation
                  into the generics market, however, has revealed that some
                  executives have sought to collude on prices and enrich themselves
                  at the expense of American consumers.56

             3.      Led by the State of Connecticut, 45 attorneys general launched their own
                     investigation of antitrust violations in the generic drug industry.

       175.       The State AG action was filed just days after the DOJ filed its first criminal charges

against two former executives of Heritage Pharmaceuticals. According to the State AG complaint,

the information developed through its investigation (which is still ongoing) uncovered evidence of

a broad, well-coordinated, and long-running series of schemes to fix the prices and allocate markets

for a number of generic pharmaceuticals in the United States. Although the State AG action

currently focuses on doxycycline hyclate and glyburide, it alleges that the Plaintiff States have

uncovered a wide-ranging series of conspiracies implicating numerous different generic

pharmaceuticals and competitors. As reported by The Connecticut Mirror, the CTAG “suspected

fraud on a broader, nearly unimaginable scale” and “new subpoenas are going out, and the

investigation is growing beyond the companies named in the suit.”57 CTAG George Jepsen has

called evidence that has so far been obtained in the State AG investigation “mind-boggling.”58

       176.       CTAG George Jepsen confirmed the scope of the State AG action in the following

press release:

                  My office has dedicated significant resources to this investigation
                  for more than two years and has developed compelling evidence of

       56
           DOJ Website, Division Update Spring 2017 (Mar. 28, 2017), available at
https://www.justice.gov/atr/division-operations/division-update-spring-2017/division-secures-
individual-and-corporate-guilty-pleas-collusion-industries-where-products.
        57
           Mark Pazniokas, How a small-state AG’s office plays in the big leagues, The
Connecticut Mirror (Jan. 27, 2017), available at https://ctmirror.org/2017/01/27/how-a-small-
state-ags-office-plays-in-the-big-leagues/. The Connecticut Mirror further reported that the DOJ
grand jury was convened in this District shortly after the CTAG issued its first subpoena. Id.
       58
            Id.


                                                  - 48 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 52 of 108




               collusion and anticompetitive conduct across many companies that
               manufacture and market generic drugs in the United States. . . .
               While the principal architect of the conspiracies addressed in this
               lawsuit was Heritage Pharmaceuticals, we have evidence of
               widespread participation in illegal conspiracies across the generic
               drug industry. Ultimately, it was consumers – and, indeed, our
               healthcare system as a whole – who paid for these actions through
               artificially high prices for generic drugs. We intend to pursue this
               and other enforcement actions aggressively, and look forward to
               working with our colleagues across the country to restore
               competition and integrity to this important market.59

       177.    During a conference call on July 27, 2017, W. Joseph Nielsen, an assistant AG for

the State of Connecticut, said “he expects future actions by the group of states investigating price-

fixing and market allocation in the generic drug industry” including “more lawsuits against

additional generic manufacturers for additional drugs [and] lawsuits against high-level executives

for their roles in the collusion.”60 Mr. Nielsen also stated that the States AGs realized very quickly

that the generic drug industry is “set up structurally in a way that fosters and promotes collusion

among generic competitors and that the State AG investigation “has expanded greatly to the point

where we are now looking at numerous drugs.”

       178.    New York AG Eric T. Schneiderman also reported that the State AGs have

“uncovered evidence of a broad, well-coordinated and long running series of conspiracies to fix

prices and allocate markets for certain generic pharmaceuticals in the United States.”61



       59
          CTAG Website, Press Release, Connecticut Leads 20 State Coalition Filing Federal
Antitrust Lawsuit against Heritage Pharmaceuticals, other Generic Drug Companies (Dec. 15,
2016), available at http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341.
60
   Can Calik, Future actions by state enforcers expected over generic drug collusion,
Connecticut official says, MLEX (July 27, 2017), available at
http://www.mlex.com/GlobalAntitrust/DetailView.aspx?cid=908454&siteid=191&rdir=1.
       61
          New York AG Website, Press Release, A.G. Schneiderman Files Federal Antitrust
Lawsuit With 19 Other States Against Heritage Pharmaceuticals And Other Generic Drug
Companies (Dec. 15, 2016), available at https://ag.ny.gov/press-release/ag-schneiderman-files-
federal-antitrust-lawsuit-19-other-states-against-heritage.


                                                - 49 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 53 of 108




       179.    The DOJ and State AG investigations of alleged price-fixing and other unlawful

conduct in the generic pharmaceutical industry are ongoing.

       F.      The Baclofen market is highly susceptible to collusion

       180.    Because Defendants’ anticompetitive conduct constitutes a conspiracy to fix prices

and engage in market allocation, which is a per se violation of Section 1 of the Sherman Antitrust

Act and parallel state antitrust laws, Plaintiffs need not define a relevant market. However, there

are features of the market relevant to this case that show both (i) that the market is susceptible to

collusion and (ii) that the price increases were in fact the result of collusion and not the result of

conscious parallelism.

       181.    Factors showing that a market is susceptible to collusion include in this case:

               (1)       High Level of Industry Concentration – A small number
                         of competitors (Defendants) control a significant market
                         share for Baclofen, as detailed above. In February 2014, at
                         the outset of the Class Period the Defendants together
                         accounted for roughly 86% of the market for these products.

               (2)       Sufficient Numbers to Drive Competition – While the
                         market for Baclofen had a small enough number of
                         competitors to foster collusion, the number of sellers was
                         large enough that – given decades of experience with
                         competitive generic pricing, and accepted models of how
                         generic companies vigorously compete on price – one would
                         have expected prices to remain at their historical, near
                         marginal cost levels.      With the number of generic
                         competitors such as there were here, historical fact and
                         accepted economics teaches that – absent collusion – prices
                         have remained at competitive levels.

               (3)       High Barriers to Entry – The high costs of manufacture,
                         intellectual property, and expenses related to regulatory
                         approval and oversight are among the barriers to entry in the
                         generic drug market. By insulating against new entrants,
                         these barriers to entry and others increase the market’s
                         susceptibility to a coordinated effort among the dominant
                         players to maintain supracompetitive prices.




                                                - 50 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 54 of 108




              (4)    High Inelasticity of Demand – For the hundreds of
                     thousands of prescriptions written annually for Baclofen, it
                     is a necessity that must be purchased regardless of price
                     hikes. This makes demand for these products highly
                     inelastic. Defendants can significantly raise prices with
                     minimal effect on quantity thus increasing overall revenue.

              (5)    Lack of Substitutes – While there are other drugs on the
                     market for the treatment of MS, there are significant barriers
                     to changing treatments.

              (6)    Commoditized Market – Defendants’ Baclofen products
                     are fully interchangeable because they are bioequivalent to
                     one another by FDA standards. Thus, all manufactured
                     versions of Baclofen are therapeutically equivalent to each
                     other and pharmacists may substitute one for another
                     interchangeably.

              (7)    Absence of Departures from the Market – There were no
                     departures from the market that could explain the price
                     increases.

              (9)    Opportunities for Contact and Communication Among
                     Competitors – Defendants participate in the committees and
                     events of the GPhA,          , MMCAP, NACDS,              ,
                     NPF, and other industry groups, which provide and promote
                     opportunities to communicate. The grand jury subpoenas to
                     Defendants targeting inter-Defendant communications,
                     further supports the existence of communication lines
                     between competitors with respect to, among other things,
                     generic pricing.

              (10)   Size of Price Increases – The magnitude of the price
                     increases involved in this case further differentiates them
                     from parallel price increases. Oligopolists seeking to test
                     market increases need to take measured approaches. But
                     here the increases are not 5% or even 10% jumps – the
                     increases are of far greater magnitude.         A rational
                     oligopolist, unaided by certainty that its ostensible
                     competitors would follow, would not engage in such large
                     increases.

       182.   Through their market dominance, Defendants have been able to substantially

foreclose the market to rival competition, thereby maintaining and enhancing market power and




                                             - 51 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 55 of 108




enabling Defendants to charge Plaintiffs and the proposed Class Members inflated prices above

competitive levels for Baclofen through unlawful price collusion.

   VIII. THE STATUTES OF LIMITATIONS DO NOT BAR PLAINTIFFS’ CLAIMS

        A.     The Statutes of Limitations did not begin to run because Plaintiffs did not and
        could not discover Defendants’ unlawful conspiracy

        183.    Plaintiffs had no knowledge of the combination or conspiracy alleged herein, or of

facts sufficient to place them on inquiry notice of the claims set forth herein, until (at the earliest)

Defendants’ disclosures of the existence of the government investigations and subpoenas. Prior

to that time, no information in the public domain or available to Plaintiffs suggested that any

Defendant was involved in a criminal conspiracy to fix prices for generic Baclofen.

        184.    No information evidencing antitrust violations was available in the public domain

prior to the public announcements of the government investigations that revealed sufficient

information to suggest that any of the defendants was involved in a criminal conspiracy to fix

prices for generic Baclofen.

        185.    Plaintiffs are purchasers who indirectly purchased generic Baclofen manufactured

by one or more Defendants. They had no direct contact or interaction with any of the Defendants

in this case and had no means from which they could have discovered Defendants’ conspiracy.

        186.    Defendants repeatedly and expressly stated throughout the Class Period, including

on their public Internet websites, that they maintained antitrust/fair competition policies which

prohibited the type of collusion alleged in this Complaint. It was reasonable for members of the

Class to believe that Defendants were complying with their own antitrust policies.

        187.    For these reasons, the statutes of limitations as to Plaintiffs’ claims under the federal

and state common laws identified herein did not begin to run, and have been tolled with respect to

the claims that Plaintiffs have alleged in this Complaint.



                                                 - 52 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 56 of 108




       B.        Active concealment tolled the Statutes of Limitations

       188.      In the alternative, application of the doctrine of fraudulent concealment tolled the

statutes of limitations on the claims asserted by Plaintiffs.

       189.      Defendants actively concealed, suppressed, and omitted the disclosure of material

facts to Plaintiffs and members of the Classes concerning Defendants’ unlawful activities to

artificially inflate prices for Baclofen. The concealed, suppressed, and omitted facts would have

been important to Plaintiffs and members of the Classes as they related to the cost of Baclofen they

purchased. Defendants misrepresented the real cause of price increases and/or the absence of price

reductions in Baclofen.

            1.      Active concealment of the conspiracy

       190.      Defendants engaged in an illegal scheme to fix prices, allocate customers and rig

bids. Criminal and civil penalties for engaging in such conduct are severe. Not surprisingly,

Defendants took affirmative measures to conceal their conspiratorial conduct.

       191.      Through their misleading, deceptive, false and fraudulent statements, Defendants

effectively concealed their conspiracy, thereby causing economic harm to Plaintiffs and the

Classes. Defendants’ misrepresentations regarding their price changes were intended to lull

Plaintiffs and the Classes into accepting the price hikes as a normal result of competitive and

economic market trends rather than as the consequence of Defendants’ collusive acts. The public

statements made by Defendants were designed to mislead Plaintiffs and the Classes into paying

unjustifiably higher prices for Baclofen.

       192.      As explained in the State AG complaint, the nature of the generic drug industry—

which allows for frequent and repeated face-to-face meetings among competitors—means that

“Most of the conspiratorial communications were intentionally done in person or by cell phone, in

an attempt to avoid creating a record of their illegal conduct. The generic drug industry, through


                                                - 53 -
         Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 57 of 108




the aforementioned opportunities to collude at trade shows, customer events and smaller more

intimate dinners and meetings, allowed these communications to perpetuate.”62

         193.    These types of false statements and others made by Defendants helped conceal the

illegal conspiracy entered into by Defendants to fix, stabilize, maintain and raise the price of

generic Baclofen to inflated, supracompetitive levels.

            2.      Plaintiffs exercised reasonable diligence

         194.    Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Generic drugs are not exempt from antitrust regulation, and thus, before the disclosure of the

government investigations, Plaintiffs reasonably considered the market to be competitive.

Accordingly, a reasonable person under the circumstances would not have been alerted to

investigate the legitimacy of Defendants’ prices before these disclosures.

         195.    Because of the deceptive practices and techniques of secrecy employed by

Defendants and their co-conspirators to conceal their illicit conduct, Plaintiffs and the Classes

could not have discovered the conspiracy at an earlier date by the exercise of reasonable diligence.

         196.    Therefore, the running of any statutes of limitations has been tolled for all claims

alleged by Plaintiffs and the Classes as a result of Defendants’ anticompetitive and unlawful

conduct. Despite the exercise of reasonable diligence, Plaintiffs and Members of the Classes were

unaware of Defendants’ unlawful conduct, and did not know that they were paying

supracompetitive prices throughout the United States during the Class Period.

         197.    For these reasons, Plaintiffs’ claims are timely under all of the federal, state and

common laws identified herein.




62
     State AG Amended Complaint ¶ 13.


                                                - 54 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 58 of 108




                              IX.    CONTINUING VIOLATIONS

       198.    This Complaint alleges a continuing course of conduct (including conduct within

the limitations periods), and defendants’ unlawful conduct has inflicted continuing and

accumulating harm within the applicable statutes of limitations. As shown in the price charts

above, Defendants continue to benefit from the effects of the conspiratorial price increases, as

prices have not returned to the stable levels seen before the steep increases. Thus, Plaintiffs and

the members of the Damages Class can recover for damages that they suffered during any

applicable limitations period.

                     X.      DEFENDANTS’ ANTITRUST VIOLATIONS

       199.    During the Class Period, set forth below, Defendants engaged in a continuing

agreement, understanding, and conspiracy in restraint of trade to allocate customers, rig bids, and

fix raise and/or stabilize prices for Baclofen sold in the United States.

       200.    In formulating and effectuating the contract, combination or conspiracy,

Defendants identified above and their co-conspirators engaged in anticompetitive activities, the

purpose and effect of which were to allocate customers, rig bids and artificially fix, raise, maintain,

and/or stabilize the price of Baclofen sold in the United States. These activities included the

following:

               (a)     Participating, directing, authorizing, or consenting to the
                       participation of subordinate employees in meetings, conversations,
                       and communications with co-conspirators to discuss the sale of
                       Baclofen in the United States;

               (b)     Participating, directing, authorizing, or consenting to the
                       participation of subordinate employees in meetings, conversations,
                       and communications with co-conspirators to allocate customers or
                       rig bids for Baclofen sold in the United States;

               (c)     Agreeing during those meetings,          conversations,   and
                       communications to allocate customers for Baclofen sold in the
                       United States;


                                                - 55 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 59 of 108




               (d)    Agreeing during those meetings,              conversations, and
                      communications not to compete against each other for certain
                      customers for Baclofen sold in the United States;

               (e)    Submitting bids, withholding bids, and issuing price proposal in
                      accordance with the agreements reached;

               (f)    Selling Baclofen in the United States at collusive and
                      noncompetitive prices; and

               (g)    Accepting payment for Baclofen sold in the United States at
                      collusive and noncompetitive prices.

       201.    Defendants and their co-conspirators engaged in the activities described above for

the purpose of effectuating the unlawful agreements described in this Complaint.

       202.    During and throughout the period of the conspiracy alleged in this Complaint,

Plaintiffs and members of the Classes indirectly purchased Baclofen at inflated and

supracompetitive prices.

       203.    Defendants’ contract, combination and conspiracy constitutes an unreasonable

restraint of trade and commerce in violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§

1, 3) and the laws of various IRP Damages Jurisdictions enumerated below.

       204.    As a result of Defendants’ unlawful conduct, Plaintiffs and the other members of

the Classes have been injured in their business and property in that they have paid more for

Baclofen than they would have paid in competitive markets.

       205.    General economic principles recognize that any overcharge at a higher level of

distribution generally results in higher prices at every level below. Moreover, the institutional

structure of pricing and regulation in the pharmaceutical drug industry assures that overcharges at

the higher level of distribution are passed on to independent pharmacists, who cannot negotiate

their acquisition costs. Wholesalers passed on the inflated prices to Plaintiffs and members of the




                                              - 56 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 60 of 108




Class. The impairment of generic competition at the direct purchaser level similarly injured

Plaintiffs who were equally denied the opportunity to purchase less expensive generic versions of

Baclofen, and who were forced to purchase Baclofen at supracompetitive prices in order to fill

prescriptions.

       206.      The unlawful contract, combination and conspiracy has had the following effects,

among others:

                 (a)    price competition in the market for Baclofen has been artificially
                        restrained;

                 (b)    prices for Baclofen sold by Defendants have been raised, fixed,
                        maintained, or stabilized at artificially high and non-competitive
                        levels; and

                 (c)    purchasers of Baclofen sold by Defendants have been deprived of
                        the benefit of free and open competition in the market for Baclofen.


                            XI.     CLASS ACTION ALLEGATIONS

       206.      Plaintiffs bring this action on behalf of themselves and as a class action under Rule

23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking equitable and injunctive relief on

behalf of the following class (the “Nationwide Class”):

                 All privately held pharmacies in the United States and its territories
                 that indirectly purchased Defendants’ Baclofen (generic Baclofen
                 10 or 20 mg tablets) from February 1, 2014 through the present.

                 This class excludes: (a) defendants, their officers, directors,
                 management, employees, subsidiaries and affiliates; (b) all persons
                 or entities who purchased Baclofen products directly from
                 defendants; (c) any pharmacies owned in part by judges or justices
                 involved in this action or any members of their immediate families;
                 (d) all pharmacies owned or operated by publicly traded companies.

       207.      Plaintiffs also bring this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure seeking damages pursuant to the

common law of unjust enrichment and the state antitrust, unfair competition, and consumer


                                                 - 57 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 61 of 108




protection laws of the states and territories listed below (the “IRP Damages Jurisdictions”)63 on

behalf of the following class (the “Damages Class”):

                 All privately held pharmacies in the IRP Damages Jurisdictions that
                 indirectly purchased Defendants’ Baclofen products (generic
                 Baclofen 10 or 20 mg tablets) from February 1, 2014 through the
                 present.64

                 This class excludes: (a) defendants, their officers, directors,
                 management, employees, subsidiaries and affiliates; (b) all persons
                 or entities who purchased Baclofen products directly from
                 defendants; (c) any pharmacies owned in part by judges or justices
                 involved in this action or any members of their immediate families;
                 (d) all pharmacies owned or operated by publicly traded companies.

       208.      The Nationwide Class and the Damages Class are referred to herein as the

“Classes.”

       209.      While Plaintiffs do not know the exact number of the members of the Classes,

rosters of members of national independent pharmacy organizations indicate that there are at least

20,000 members in each class.

       210.      Common questions of law and fact exist as to all members of the Classes. This is

particularly true given the nature of Defendants’ conspiracy, which was generally applicable to all

the members of both Classes, thereby making appropriate relief with respect to the Classes as a

whole. Such questions of law and fact common to the Classes include, but are not limited to:

       (a)       Whether Defendants and their co-conspirators engaged in a combination
                 and conspiracy among themselves to fix, raise, maintain and/or stabilize

       63
          The IRP Damages Jurisdictions, for purposes of this complaint, are: Alabama, Alaska,
Arizona, Arkansas, California, Colorado, Delaware, Florida, Georgia, Idaho, Illinois, Iowa,
Kansas, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Missouri,
Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York, North
Carolina, North Dakota, Oregon, Pennsylvania, Rhode Island, South Carolina, South Dakota,
Tennessee, Texas, Utah, Vermont, Virginia, Washington, West Virginia, Wisconsin and Wyoming
as well as the District of Columbia, Puerto Rico and the U.S. Virgin Islands.
       64
            Plaintiffs may seek to certify state classes rather than a single Damages Class. See ¶
214.


                                                 - 58 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 62 of 108




               prices of generic Baclofen and/or engaged in market allocation for generic
               Baclofen sold in the United States;

       (b)     The identity of the participants of the alleged conspiracy;

       (c)     The duration of the alleged conspiracy and the acts carried out by
               Defendants and their co-conspirators in furtherance of the conspiracy;

       (d)     Whether the alleged conspiracy violated the Sherman Act, as alleged in the
               First Count;

       (e)     Whether the alleged conspiracy violated state antitrust and unfair
               competition laws, and/or state consumer protection laws, as alleged in the
               Second and Third Counts;

       (f)     Whether Defendants unjustly enriched themselves to the detriment of the
               Plaintiffs and the members of the Classes, thereby entitling Plaintiffs and
               the members of the Classes to disgorgement of all benefits derived by
               Defendants, as alleged in the Fourth Count;

       (g)     Whether the conduct of Defendants and their co-conspirators, as alleged in
               this Complaint, caused injury to the business or property of Plaintiffs and
               the members of the Classes;

       (h)     The effect of the alleged conspiracy on the prices of generic Baclofen sold
               in the United States during the Class Period;

       (i)     Whether the Defendants and their co-conspirators actively concealed,
               suppressed, and omitted to disclose material facts to Plaintiffs and members
               of the Classes concerning Defendants’ unlawful activities to artificially
               inflate prices for generic Baclofen, and/or fraudulently concealed the
               unlawful conspiracy’s existence from Plaintiffs and the other members of
               the Classes;

       (j)     The appropriate injunctive and related equitable relief for the Nationwide
               Class; and

       (k)     The appropriate class-wide measure of damages for the Damages Class.

       211.    Plaintiffs’ claims are typical of the claims of the members of the Classes. Plaintiffs

and all members of the Classes are similarly affected by Defendants’ wrongful conduct in that they

paid artificially inflated prices for generic Baclofen purchased indirectly from Defendants and/or




                                               - 59 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 63 of 108




their co-conspirators. Plaintiffs’ claims arise out of the same common course of conduct giving

rise to the claims of the other members of the Classes.

        212.    Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs’

interests are coincident with, and not antagonistic to, those of the other members of the Classes.

Plaintiffs are represented by counsel who are competent and experienced in the prosecution of

antitrust and class action litigation.

        213.    The questions of law and fact common to the members of the Classes predominate

over any questions affecting only individual members, including legal and factual issues relating

to liability and damages.

        214.    Class action treatment is a superior method for the fair and efficient adjudication of

the controversy, in that, among other things, such treatment will permit a large number of similarly

situated persons to prosecute their common claims in a single forum simultaneously, efficiently

and without the unnecessary duplication of evidence, effort and expense that numerous individual

actions would engender. The benefits of proceeding through the class mechanism, including

providing injured persons or entities with a method for obtaining redress for claims that might not

be practicable to pursue individually, substantially outweigh any difficulties that may arise in

management of this class action. Plaintiffs reserve the discretion to certify the Damages Class as

separate classes for each of the IRP Damages Jurisdictions or as separate classes for certain groups

of IRP Damages Jurisdictions, should the Court’s subsequent decisions in this case render that

approach more efficient. Whether certified together or separately, the total number and identity of

the members of the Damages Class would remain consistent.




                                                - 60 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 64 of 108




          215.   The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for Defendants.

                                    XII.    CAUSES OF ACTION

                                            FIRST COUNT

                         Violation of Sections 1 and 3 of the Sherman Act
                         (on behalf of Plaintiffs and the Nationwide Class)

          216.   Plaintiffs incorporate by reference the allegations set forth above as if fully set forth

herein.

          217.   Defendants and their unnamed co-conspirators entered into and engaged in a

contract, combination, or conspiracy in unreasonable restraint of trade in violation of Sections 1

and 3 of the Sherman Act (15 U.S.C. § 1, 3).

          218.   During the Class Period, Defendants and their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to artificially allocate

customers, rig bids and raise, maintain and fix prices for generic Baclofen, thereby creating

anticompetitive effects.

          219.   The conspiratorial acts and combinations have caused unreasonable restraints in the

market for generic Baclofen.

          220.   As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly situated

independent pharmacies in the Nationwide Class who purchased generic Baclofen have been

harmed by being forced to pay inflated, supracompetitive prices for generic Baclofen.

          221.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and




                                                  - 61 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 65 of 108




conspired to do, including, but not limited to, the acts, practices and course of conduct set forth

herein.

          222.    Defendants’ conspiracy had the following effects, among others:

                  (a) Price competition in the market for generic Baclofen has been
                      restrained, suppressed, and/or eliminated in the United States;

                  (b) Prices for generic Baclofen provided by Defendants and their co-
                      conspirators have been fixed, raised, maintained, and stabilized at
                      artificially high, non-competitive levels throughout the United States;
                      and

                  (c) Plaintiffs and members of the Nationwide Class who purchased generic
                      Baclofen indirectly from Defendants and their co-conspirators have
                      been deprived of the benefits of free and open competition.

          223.    Plaintiffs and members of the Nationwide Class have been injured and will continue

to be injured in their business and property by paying more for generic Baclofen purchased

indirectly from Defendants and the co-conspirators than they would have paid and will pay in the

absence of the conspiracy.

          224.    Defendants’ contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

          225.    Plaintiffs and members of the Nationwide Class are entitled to an injunction against

Defendants, preventing and restraining the continuing violations alleged herein.

                                           SECOND COUNT

                                Violation of State Antitrust Statutes65
                           (on behalf of Plaintiffs and the Damages Class)

          226.    Plaintiffs incorporate by reference the allegations set forth above as if fully set forth

herein.


          65
        Statutory antitrust violations are alleged herein for the following jurisdictions:
Alabama, Arizona, California, District of Columbia, Illinois, Iowa, Kansas, Maine, Michigan,
Minnesota, Mississippi, Nebraska, Nevada, New Hampshire, New Mexico, New York, North


                                                   - 62 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 66 of 108




       227.    During the Class Period, Defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy with respect to the sale of generic Baclofen in

unreasonable restraint of trade and commerce and in violation of the various state antitrust and

other statutes set forth below.

       228.    The contract, combination, or conspiracy consisted of an agreement among

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain the prices of

generic Baclofen and to allocate customers for generic Baclofen in the United States.

       229.    In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

               (a) participating in meetings and conversations among themselves in the
                   United States and elsewhere during which they agreed to price generic
                   Baclofen at certain levels, and otherwise to fix, increase, inflate,
                   maintain, or stabilize effective prices paid by Plaintiffs and members
                   of the Damages Class with respect to generic Baclofen provided in the
                   United States; and

               (b) participating in meetings and trade association conversations among
                   themselves in the United States and elsewhere to implement, adhere to,
                   and police the unlawful agreements they reached.

       230.    Defendants and their co-conspirators engaged in the actions described above for the

purpose of carrying out their unlawful agreement to allocate customers, rig bids, and fix prices for

generic Baclofen. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Damages Class have been injured in their business and property and are threatened

with further injury.




Carolina, North Dakota, Oregon, Rhode Island, South Dakota, Tennessee, Utah, Vermont, West
Virginia and Wisconsin.


                                               - 63 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 67 of 108




        231.    In addition, defendants have profited significantly from the conspiracy.

Defendants’ profits derived from their anticompetitive conduct come at the expense and detriment

of plaintiffs and the members of the Damages Class.

        232.    Accordingly, plaintiffs and the members of the Damages Class in each of the

following jurisdictions seek damages (including statutory damages where applicable), to be trebled

or otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

including reasonable attorneys’ fees, to the extent permitted by the following state laws.

        233.    Defendants’ anticompetitive acts described above were knowing, willful and

constitute violations or flagrant violations of the following state antitrust statutes:

        234.    Alabama: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Alabama Code § 6-5-60, et seq. Defendants’ combinations and conspiracy had the

following effects: (1) price competition for generic Baclofen was restrained, suppressed, and

eliminated throughout Alabama; (2) generic Baclofen prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Alabama. During the Class Period, Defendants’

illegal conduct substantially affected Alabama commerce. By reason of the foregoing, Defendants

entered into an agreement in restraint of trade in violation of Alabama Code § 6-5-60, et seq.

Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief available under

Alabama Code § 6-5-60, et seq.

        235.    Arizona: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Arizona Revised Statutes, § 44-1401, et seq. Defendants’ combination and

conspiracy had the following effects: (1) price competition for generic Baclofen was restrained,

suppressed, and eliminated throughout Arizona; (2) generic Baclofen prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Arizona. During the Class Period,




                                                 - 64 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 68 of 108




Defendants’ illegal conduct substantially affected Arizona commerce. Defendants’ violations of

Arizona law were flagrant. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured in their business and property and

are threatened with further injury. By reason of the foregoing, Defendants entered into an

agreement in restraint of trade in violation of Ariz. Rev. Stat. § 44-1401, et seq. Accordingly,

Plaintiffs and members of the Damages Class seek all forms of relief available under Ariz. Rev.

Stat. § 44-1401, et seq.

       236.    California: Defendants have entered into an unlawful agreement in restraint of

trade in violation of California Business and Professions Code § 16700 et seq. During the Class

Period, Defendants and their co-conspirators entered into and engaged in a continuing unlawful

trust in restraint of the trade and commerce described above in violation of California Business

and Professions Code §16720. Defendants, and each of them, have acted in violation of § 16720

to fix, raise, stabilize, and maintain prices of generic Baclofen at supracompetitive levels. The

aforesaid violations of § 16720 consisted, without limitation, of a continuing unlawful trust and

concert of action among Defendants and their co-conspirators, the substantial terms of which were

to fix, raise, maintain, and stabilize the prices of generic Baclofen. For the purpose of forming and

effectuating the unlawful trust, Defendants and their co-conspirators have done those things which

they combined and conspired to do, including, but not limited to, the acts, practices and course of

conduct set forth above and creating a price floor, fixing, raising, and stabilizing the price of

generic Baclofen. The combination and conspiracy alleged herein has had, inter alia, the following

effects: (1) price competition for generic Baclofen has been restrained, suppressed, and/or

eliminated in the State of California; (2) prices for generic Baclofen provided by Defendants and

their co-conspirators have been fixed, raised, stabilized, and pegged at artificially high, non-




                                               - 65 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 69 of 108




competitive levels in the State of California; and (3) those who purchased generic Baclofen

indirectly from Defendants and their co-conspirators have been deprived of the benefit of free and

open competition. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Damages Class have been injured in their business and property in that they paid

more for generic Baclofen than they otherwise would have paid in the absence of Defendants’

unlawful conduct. During the Class Period, Defendants’ illegal conduct substantially affected

California commerce. As a result of Defendants’ violation of § 16720, Plaintiffs and members of

the Damages Class seek treble damages and their cost of suit, including a reasonable attorney’s

fee, pursuant to California Business and Professions Code § 16750(a).

       237.    District of Columbia: Defendants have entered into an unlawful agreement in

restraint of trade in violation of District of Columbia Code Annotated § 28-4501, et seq.

Defendants’ combination and conspiracy had the following effects: (1) generic Baclofen price

competition was restrained, suppressed, and eliminated throughout the District of Columbia; (2)

generic Baclofen prices were raised, fixed, maintained and stabilized at artificially high levels

throughout the District of Columbia; (3) Plaintiffs and members of the Damages Class, including

those who resided in the District of Columbia and/or purchased generic Baclofen in the District of

Columbia that were shipped by Defendants or their co-conspirators into the District of Columbia,

were deprived of free and open competition, including in the District of Columbia; and (4)

Plaintiffs and members of the Damages Class, including those who resided in the District of

Columbia and/or purchased generic Baclofen in the District of Columbia that were shipped by

Defendants or their co-conspirators, paid supracompetitive, artificially inflated prices for generic

Baclofen, including in the District of Columbia. During the Class Period, Defendants’ illegal

conduct substantially affected District of Columbia commerce. As a direct and proximate result of




                                               - 66 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 70 of 108




Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured in

their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of District of Columbia

Code Ann. § 28-4501, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all

forms of relief available under District of Columbia Code Ann. § 28-4501, et seq.

        238.    Illinois: Defendants have entered into an unlawful agreement in restraint of trade

in violation of the Illinois Antitrust Act (740 Illinois Compiled Statutes 10/1, et seq.) Defendants’

combination or conspiracy had the following effects: (1) generic Baclofen price competition was

restrained, suppressed, and eliminated throughout Illinois; (2) generic Baclofen prices were raised,

fixed, maintained, and stabilized at artificially high levels throughout Illinois. During the Class

Period, Defendants’ illegal conduct substantially affected Illinois commerce. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured in their business and property and are threatened with further injury.

Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief available under

the Illinois Antitrust Act.

        239.    Iowa: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Iowa Code § 553.1, et seq. Defendants’ combination or conspiracy had the following

effects: (1) generic Baclofen price competition was restrained, suppressed, and eliminated

throughout Iowa; (2) generic Baclofen prices were raised, fixed, maintained and stabilized at

artificially high levels throughout Iowa. During the Class Period, Defendants’ illegal conduct

substantially affected Iowa commerce. By reason of the foregoing, Defendants have entered into

an agreement in restraint of trade in violation of Iowa Code § 553.1, et seq. Accordingly, Plaintiffs




                                               - 67 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 71 of 108




and members of the Damages Class seek all forms of relief available under Iowa Code § 553, et

seq.

       240.    Kansas: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Kansas Statutes Annotated, § 50-101, et seq. Defendants’ combined capital, skills

or acts for the purposes of creating restrictions in trade or commerce of generic Baclofen,

increasing the prices of generic Baclofen, preventing competition in the sale of generic Baclofen,

or binding themselves not to sell generic Baclofen, in a manner that established the price of generic

Baclofen and precluded free and unrestricted competition among themselves in the sale of generic

Baclofen, in violation of Kan. Stat. Ann. § 50-101, et seq. Defendants’ combination or conspiracy

had the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Kansas; (2) generic Baclofen prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Kansas. During the Class Period, Defendants’

illegal conduct substantially affected Kansas commerce. By reason of the foregoing, Defendants

have entered into an agreement in restraint of trade in violation of Kansas Stat. Ann. § 50-101, et

seq. Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief available

under Kansas Stat. Ann. § 50-101, et seq.

       241.    Maine: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Maine Revised Statutes (Maine Rev. Stat. Ann. 10, § 1101, et seq.) Defendants’

combination or conspiracy had the following effects: (1) generic Baclofen price competition was

restrained, suppressed, and eliminated throughout Maine; (2) generic Baclofen prices were raised,

fixed, maintained and stabilized at artificially high levels throughout Maine. During the Class

Period, Defendants’ illegal conduct substantially affected Maine commerce. By reason of the

foregoing, Defendants have entered into an agreement in restraint of trade in violation of Maine




                                               - 68 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 72 of 108




Rev. Stat. Ann. 10, § 1101, et seq. Accordingly, Plaintiffs and members of the Damages Class seek

all relief available under Maine Rev. Stat. Ann. 10, § 1101, et seq.

       242.    Michigan: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Michigan Compiled Laws Annotated § 445.771, et seq. Defendants’ combination

or conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout Michigan; (2) generic Baclofen prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Michigan. During the Class Period,

Defendants’ illegal conduct substantially affected Michigan commerce. As a direct and proximate

result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been

injured in their business and property and are threatened with further injury. By reason of the

foregoing, Defendants have entered into an agreement in restraint of trade in violation of Michigan

Comp. Laws Ann. § 445.771, et seq. Accordingly, Plaintiffs and members of the Damages Class

seek all relief available under Michigan Comp. Laws Ann. § 445.771, et seq.

       243.    Minnesota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Minnesota Annotated Statutes § 325D.49, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout Minnesota; (2) generic Baclofen prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Minnesota. During the Class Period,

Defendants’ illegal conduct substantially affected Minnesota commerce. As a direct and proximate

result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been

injured in their business and property and are threatened with further injury. By reason of the

foregoing, Defendants have entered into an agreement in restraint of trade in violation of




                                               - 69 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 73 of 108




Minnesota Stat. § 325D.49, et seq. Accordingly, Plaintiffs and members of the Damages Class

seek all relief available under Minnesota Stat. § 325D.49, et seq.

       244.    Mississippi: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Mississippi Code Annotated § 75-21-1, et seq. Trusts are combinations,

contracts, understandings or agreements, express or implied when inimical to the public welfare

and with the effect of, inter alia, restraining trade, increasing the price or output of a commodity,

or hindering competition in the production and sale of a commodity. Miss. Code Ann. § 75-21-1.

Defendants’ combination or conspiracy was in a manner inimical to public welfare and had the

following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Mississippi; (2) generic Baclofen prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Mississippi. During the Class Period, Defendants’

illegal conduct substantially affected Mississippi commerce. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured in

their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Mississippi Code

Ann. § 75-21-1, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief

available under Mississippi Code Ann. § 75-21-1, et seq.

       245.    Nebraska: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Nebraska Revised Statutes § 59-801, et seq. Defendants’ combination or conspiracy

had the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Nebraska; (2) generic Baclofen prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Nebraska. During the Class Period, Defendants’

illegal conduct substantially affected Nebraska commerce. As a direct and proximate result of




                                               - 70 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 74 of 108




Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured in

their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Nebraska Revised

Statutes § 59-801, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief

available under Nebraska Revised Statutes § 59-801, et seq.

       246.    Nevada: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Nevada Revised Statutes Annotated § 598A.010, et seq. Defendants’ combination

or conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout Nevada; (2) generic Baclofen prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Nevada. During the Class Period,

Defendants’ illegal conduct substantially affected Nevada commerce. As a direct and proximate

result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been

injured in their business and property and are threatened with further injury. By reason of the

foregoing, Defendants have entered into an agreement in restraint of trade in violation of Nevada

Rev. Stat. Ann. § 598A.010, et seq. Accordingly, Plaintiffs and members of the Damages Class

seek all relief available under Nevada Rev. Stat. Ann. § 598A.010, et seq.

       247.    New Hampshire: Defendants have entered into an unlawful agreement in restraint

of trade in violation of New Hampshire Revised Statutes § 356:1, et seq. Defendants’ combination

or conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout New Hampshire; (2) generic Baclofen prices were raised,

fixed, maintained and stabilized at artificially high levels throughout New Hampshire. During the

Class Period, Defendants’ illegal conduct substantially affected New Hampshire commerce. As a

direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the




                                              - 71 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 75 of 108




Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of trade

in violation of New Hampshire Revised Statutes § 356:1, et seq. Accordingly, Plaintiffs and

members of the Damages Class seek all relief available under New Hampshire Revised Statutes §

356:1, et seq.

       248.      New Mexico: Defendants have entered into an unlawful agreement in restraint of

trade in violation of New Mexico Statutes Annotated § 57-1-1, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout New Mexico; (2) generic Baclofen prices were raised,

fixed, maintained and stabilized at artificially high levels throughout New Mexico. During the

Class Period, Defendants’ illegal conduct substantially affected New Mexico commerce. As a

direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of trade

in violation of New Mexico Stat. Ann. § 57-1-1, et seq. Accordingly, Plaintiffs and members of

the Damages Class seek all relief available under New Mexico Stat. Ann. § 57-1-1, et seq.

       249.      New York: Defendants have entered into an unlawful agreement in restraint of

trade in violation of New York General Business Law § 340, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout New York; (2) generic Baclofen prices were raised, fixed,

maintained and stabilized at artificially high levels throughout New York that were higher than

they would have been absent Defendants’ illegal acts. During the Class Period, Defendants’ illegal

conduct substantially affected New York commerce. As a direct and proximate result of




                                              - 72 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 76 of 108




Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured in

their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of New York General

Business Law § 340, et seq. The conduct set forth above is a per se violation of the Act.

Accordingly, Plaintiffs and members of the Damages Class seek all relief available under New

York Gen. Bus. Law § 340, et seq.

       250.    North Carolina: Defendants have entered into an unlawful agreement in restraint

of trade in violation of the North Carolina General Statutes § 75-1, et seq. Defendants’ combination

or conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout North Carolina; (2) generic Baclofen prices were raised,

fixed, maintained and stabilized at artificially high levels throughout North Carolina. During the

Class Period, Defendants’ illegal conduct substantially affected North Carolina commerce. As a

direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of trade

in violation of North Carolina Gen. Stat. § 75-1, et seq. Accordingly, Plaintiffs and members of

the Damages Class seek all relief available under North Carolina Gen. Stat. § 75-1, et. seq.

       251.    North Dakota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of North Dakota Century Code § 51-08.1-01, et seq. Defendants’ combination

or conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout North Dakota; (2) generic Baclofen prices were raised,

fixed, maintained and stabilized at artificially high levels throughout North Dakota. During the

Class Period, Defendants’ illegal conduct had a substantial effect on North Dakota commerce. As




                                               - 73 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 77 of 108




a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of trade

in violation of North Dakota Cent. Code § 51-08.1-01, et seq. Accordingly, Plaintiffs and members

of the Damages Class seek all relief available under North Dakota Cent. Code § 51-08.1-01, et

seq.

       252.    Oregon: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Oregon Revised Statutes § 646.705, et seq. Defendants’ combination or conspiracy

had the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Oregon; (2) generic Baclofen prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Oregon. During the Class Period, Defendants’

illegal conduct had a substantial effect on Oregon commerce. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured in

their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Oregon Revised

Statutes § 646.705, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all

relief available under Oregon Revised Statutes § 646.705, et seq.

       253.    Rhode Island: Defendants have entered into an unlawful agreement in restraint of

trade in violation of the Rhode Island Antitrust Act, Rhode Island General Laws § 6-36-1, et seq.

Defendants’ combination or conspiracy had the following effects: (1) generic Baclofen price

competition was restrained, suppressed, and eliminated throughout Rhode Island; (2) generic

Baclofen prices were raised, fixed, maintained and stabilized at artificially high levels throughout

Rhode Island. During the Class Period, Defendants’ illegal conduct had a substantial effect on




                                               - 74 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 78 of 108




Rhode Island commerce. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs and members of the Damages Class have been injured in their business and property on

or after July 15, 2013, and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Rhode Island

General Laws § 6-36-1, et seq. Accordingly, Plaintiffs and members of the Damages Class seek

all relief available under Rhode Island General Laws § 6-36-1, et seq.

       254.    South Dakota: Defendants have entered into an unlawful agreement in restraint of

trade in violation of South Dakota Codified Laws § 37-1-3.1, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout South Dakota; (2) generic Baclofen prices were raised,

fixed, maintained and stabilized at artificially high levels throughout South Dakota. During the

Class Period, Defendants’ illegal conduct had a substantial effect on South Dakota commerce. As

a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. By reason of the foregoing, Defendants have entered into an agreement in restraint of trade

in violation of South Dakota Codified Laws Ann. § 37-1-3.1, et seq. Accordingly, Plaintiffs and

members of the Damages Class seek all relief available under South Dakota Codified Laws Ann.

§ 37-1-3.1, et seq.

       255.    Tennessee: Defendants have entered into an unlawful agreement in restraint of

trade in violation of Tennessee Code Annotated § 47-25-101, et seq. Defendants’ combination or

conspiracy had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout Tennessee; (2) generic Baclofen prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Tennessee. During the Class Period,




                                               - 75 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 79 of 108




Defendants’ illegal conduct had a substantial effect on Tennessee commerce. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured in their business and property and are threatened with further injury. By reason

of the foregoing, Defendants have entered into an agreement in restraint of trade in violation of

Tennessee Code Ann. § 47-25-101, et seq. Accordingly, Plaintiffs and members of the Damages

Class seek all relief available under Tennessee Code Ann. § 47-25-101, et seq.

       256.    Utah: Defendants have entered into an unlawful agreement in restraint of trade in

violation of Utah Code Annotated § 76-10-3101, et seq. Defendants’ combination or conspiracy

had the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Utah; (2) generic Baclofen prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Utah. During the Class Period, Defendants’ illegal

conduct had a substantial effect on Utah commerce. As a direct and proximate result of

Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured in

their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Utah Code

Annotated § 76-10-3101, et seq. Accordingly, Plaintiffs and members of the Damages Class seek

all relief available under Utah Code Annotated § 76-10-3101, et seq.

       257.    Vermont: Defendants have entered into an unlawful agreement in restraint of trade

in violation of Vermont Stat. Ann. 9 § 2453, et seq. Defendants’ combination or conspiracy had

the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Vermont; (2) generic Baclofen prices were raised, fixed, maintained and

stabilized at artificially high levels throughout Vermont. During the Class Period, Defendants’

illegal conduct had a substantial effect on Vermont commerce. As a direct and proximate result of




                                               - 76 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 80 of 108




Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class have been injured in

their business and property and are threatened with further injury. By reason of the foregoing,

Defendants have entered into an agreement in restraint of trade in violation of Vermont Stat. Ann.

9 § 2453, et seq. Accordingly, Plaintiffs and members of the Damages Class seek all relief

available under Vermont Stat. Ann. 9 § 2453, et seq.

       258.    West Virginia: Defendants have entered into an unlawful agreement in restraint of

trade in violation of West Virginia Code § 47-18-1, et seq. Defendants’ anticompetitive acts

described above were knowing, willful, and constitute violations or flagrant violations of West

Virginia Antitrust Act. Defendants’ combination or conspiracy had the following effects: (1)

generic Baclofen price competition was restrained, suppressed, and eliminated throughout West

Virginia; (2) generic Baclofen prices were raised, fixed, maintained and stabilized at artificially

high levels throughout West Virginia. During the Class Period, Defendants’ illegal conduct had a

substantial effect on West Virginia commerce. As a direct and proximate result of Defendants’

unlawful conduct, Plaintiffs and members of the Damages Class have been injured in their business

and property and are threatened with further injury. By reason of the foregoing, Defendants have

entered into an agreement in restraint of trade in violation of West Virginia Code § 47-18-1, et seq.

Accordingly, Plaintiffs and members of the Damages Class seek all relief available under West

Virginia Code § 47-18-1, et seq.

       259.    Wisconsin: Defendants have entered into an unlawful agreement in restraint of

trade in violation of the Wisconsin Statutes § 133.01, et seq. Defendants’ and their co-conspirators’

anticompetitive activities have directly, foreseeably and proximately caused injury to Plaintiffs

and members of the Classes in the United States. Specifically, Defendants’ combination or

conspiracy had the following effects: (1) generic Baclofen price competition was restrained,




                                               - 77 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 81 of 108




suppressed, and eliminated throughout Wisconsin; (2) generic Baclofen prices were raised, fixed,

maintained and stabilized at artificially high levels throughout Wisconsin. During the Class

Period, Defendants’ illegal conduct had a substantial effect on the people of Wisconsin and

Wisconsin commerce. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

and members of the Damages Class have been injured in their business and property and are

threatened with further injury. By reason of the foregoing, Defendants have entered into an

agreement in restraint of trade in violation of Wisconsin Stat. § 133.01, et seq. Accordingly,

Plaintiffs and members of the Damages Class seek all relief available under Wisconsin Stat. §

133.01, et seq.

       260.       As to All Jurisdictions Above: Plaintiffs and members of the Damages Class in

each of the above jurisdictions have been injured in their business and property by reason of

Defendants’ unlawful combination, contract, conspiracy and agreement. Plaintiffs and members

of the Damages Class have paid more for generic Baclofen than they otherwise would have paid

in the absence of Defendants’ unlawful conduct. This injury is of the type the antitrust laws of the

above states were designed to prevent and flows from that which makes Defendants’ conduct

unlawful.

       261.       In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct come at the expense and detriment

of Plaintiffs and members of the Damages Class.

       262.       Accordingly, Plaintiffs and members of the Damages Class in each of the above

jurisdictions seek damages (including statutory damages where applicable), to be trebled or

otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

including reasonable attorneys’ fees, to the extent permitted by the above state laws.




                                                - 78 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 82 of 108




                                           THIRD COUNT

                         Violation of State Consumer Protection Statutes66
                          (on behalf of Plaintiffs and the Damages Class)

          263.   Plaintiffs incorporate by reference the allegations set forth above as if fully set forth

herein.

          264.   Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the state consumer protection and unfair competition

statutes listed below.

          265.   Alaska: Defendants have engaged in unfair competition or unfair, unconscionable,

or deceptive acts or practices in violation of Alaska Statute § 45.50.471, et seq. Defendants

knowingly agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing,

controlling, and/or maintaining at non-competitive and artificially inflated levels, the prices at

which generic Baclofen were sold, distributed, or obtained in Alaska and took efforts to conceal

their agreements from Plaintiffs and members of the Damages Class. The aforementioned conduct

on the part of Defendants constituted “unconscionable” and “deceptive” acts or practices in

violation of Alaska law. Defendants’ unlawful conduct had the following effects: (1) generic

Baclofen price competition was restrained, suppressed, and eliminated throughout Alaska; (2)

generic Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout Alaska. During the Class Period, Defendants’ illegal conduct substantially affected



          66
         Statutory consumer protection / deceptive trade violations are alleged herein for the
following jurisdictions: Alaska, Arkansas, California, Colorado, Delaware, Florida, Georgia,
Michigan, Minnesota, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New
York, North Carolina, North Dakota, South Carolina, South Dakota, West Virginia, Wisconsin
and the U.S. Virgin Islands.


                                                  - 79 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 83 of 108




Alaska commerce and consumers. Defendants have engaged in unfair competition or unfair or

deceptive acts or practices in violation of Alaska Stat. § 45.50.471, et seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

       266.    Arkansas: Defendants have knowingly entered into an unlawful agreement in

restraint of trade in violation of the Arkansas Code Annotated, § 4-88-101, et seq. Defendants

knowingly agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing,

controlling, and/or maintaining at non-competitive and artificially inflated levels, the prices at

which generic Baclofen were sold, distributed, or obtained in Arkansas and took efforts to conceal

their agreements from Plaintiffs and members of the Damages Class. The aforementioned conduct

on the part of Defendants constituted “unconscionable” and “deceptive” acts or practices in

violation of Arkansas Code Annotated, § 4-88-107(a)(10). Defendants’ unlawful conduct had the

following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Arkansas; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout Arkansas. During the Class Period, Defendants’

illegal conduct substantially affected Arkansas commerce and consumers. As a direct and

proximate result of the unlawful conduct of Defendants, Plaintiffs and members of the Damages

Class have been injured in their business and property and are threatened with further injury.

Defendants have engaged in unfair competition or unfair or deceptive acts or practices in violation

of Arkansas Code Annotated, § 4-88-107(a)(10) and, accordingly, Plaintiffs and members of the

Damages Class seek all relief available under that statute.

       267.    California: Defendants have engaged in unfair competition or unfair,

unconscionable, deceptive or fraudulent acts or practices in violation of California Business and

Professions Code § 17200, et seq. During the Class Period, Defendants manufactured, marketed,




                                               - 80 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 84 of 108




sold, or distributed generic Baclofen in California, and committed and continue to commit acts of

unfair competition, as defined by § 17200, et seq. of the California Business and Professions Code,

by engaging in the acts and practices specified above. This claim is instituted pursuant to §§ 17203

and 17204 of the California Business and Professions Code, to obtain restitution from these

Defendants for acts, as alleged herein, that violated § 17200 of the California Business and

Professions Code, commonly known as the Unfair Competition Law. Defendants’ conduct as

alleged herein violated § 17200. The acts, omissions, misrepresentations, practices and non-

disclosures of Defendants, as alleged herein, constituted a common, continuous, and continuing

course of conduct of unfair competition by means of unfair, unlawful, and/or fraudulent business

acts or practices within the meaning of California Business and Professions Code §17200, et seq.,

including, but not limited to, the following: (1) the violations of Section 1 of the Sherman Act, as

set forth above; (2) the violations of § 16720, et seq. of the California Business and Professions

Code, set forth above. Defendants’ acts, omissions, misrepresentations, practices, and non-

disclosures, as described above, whether or not in violation of § 16720, et seq. of the California

Business and Professions Code, and whether or not concerted or independent acts, are otherwise

unfair, unconscionable, unlawful or fraudulent; (3) Defendants’ acts or practices are unfair to

purchasers of generic Baclofen in the State of California within the meaning of § 17200, California

Business and Professions Code; and (4) Defendants’ acts and practices are fraudulent or deceptive

within the meaning of Section 17200 of the California Business and Professions Code. Plaintiffs

and members of the Damages Class are entitled to full restitution and/or disgorgement of all

revenues, earnings, profits, compensation, and benefits that have been obtained by Defendants as

a result of such business acts or practices. During the Class Period, Defendants’ illegal conduct

substantially affected California commerce and consumers. The illegal conduct alleged herein is




                                               - 81 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 85 of 108




continuing and there is no indication that Defendants will not continue such activity into the future.

The unlawful and unfair business practices of Defendants, and each of them, as described above,

have caused and continue to cause Plaintiffs and members of the Damages Class to pay

supracompetitive and artificially-inflated prices for generic Baclofen. Plaintiffs and members of

the Damages Class suffered injury in fact and lost money or property as a result of such unfair

competition. The conduct of Defendants as alleged in this Complaint violates § 17200 of the

California Business and Professions Code. As alleged in this Complaint, Defendants and their co-

conspirators have been unjustly enriched as a result of their wrongful conduct and by Defendants’

unfair competition. Plaintiffs and members of the Damages Class are accordingly entitled to

equitable relief including restitution and/or disgorgement of all revenues, earnings, profits,

compensation, and benefits that may have been obtained by Defendants as a result of such business

practices, pursuant to the California Business and Professions Code, §§17203 and 17204.

       268.    Colorado: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of Colorado Consumer Protection Act,

Colorado Rev. Stat. § 6-1-101, et seq. Defendants engaged in an unfair and deceptive trade

practices during the course of their business dealings, which significantly impacted Plaintiffs as

actual or potential consumers of the Defendants’ goods and which caused Plaintiffs to suffer injury.

Defendants took efforts to conceal their agreements from Plaintiffs. Defendants’ unlawful conduct

had the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Colorado; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout Colorado. During the Class Period, Defendants’

illegal conduct substantially affected Colorado commerce and consumers. Defendants have

engaged in unfair competition or unfair or deceptive acts or practices in violation of Colorado Rev.




                                                - 82 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 86 of 108




Stat. § 6-1-101, et seq., and, accordingly, Plaintiffs and members of the Class seek all relief

available under that statute and as equity demands.

       269.    Delaware: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Delaware Consumer Fraud Act,

6 Del. Code § 2511, et seq. Defendants agreed to, and did in fact, act in restraint of trade or

commerce in Delaware, by affecting, fixing, controlling, and/or maintaining, at artificial and non-

competitive levels, the prices at which generic Baclofen were sold, distributed, or obtained in

Delaware. Defendants deliberately failed to disclose material facts to Plaintiffs and members of

the Damages Class concerning Defendants’ unlawful activities and artificially inflated prices for

generic Baclofen. Defendants misrepresented to all purchasers during the Class Period that

Defendants’ generic Baclofen prices were competitive and fair. Defendants’ unlawful conduct had

the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Delaware; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout Delaware. During the Class Period, Defendants’

illegal conduct had a substantial effect on Delaware commerce and consumers. As a direct and

proximate result of Defendants’ violations of law, Plaintiffs and members of the Damages Class

suffered an ascertainable loss of money or property as a result of Defendants’ use or employment

of unconscionable and deceptive commercial practices as set forth above. That loss was caused by

Defendants’ willful and deceptive conduct, as described herein. Defendants’ deception, including

their affirmative misrepresentations and omissions concerning the price of generic Baclofen, likely

misled all purchasers acting reasonably under the circumstances to believe that they were

purchasing generic Baclofen at prices set by a free and fair market. Defendants’ misleading

conduct and unconscionable activities constitute violations of 6 Del. Code § 2511, et seq., and,




                                              - 83 -
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 87 of 108




accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

statute.

           270.   Florida: Defendants have engaged in unfair competition or unfair, unconscionable,

or deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. § 501.201, et seq. Defendants’ unlawful conduct had the following effects: (1) generic

Baclofen price competition was restrained, suppressed, and eliminated throughout Florida; (2)

generic Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout Florida. During the Class Period, Defendants’ illegal conduct substantially affected

Florida commerce and consumers. Defendants have engaged in unfair competition or unfair or

deceptive acts or practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

           271.   Georgia:   Defendants    have     engaged in   unfair   competition   or   unfair,

unconscionable, or deceptive acts or practices in violation of the Georgia Uniform Deceptive Trade

Practices Act, Georgia Code § 10-1-370, et seq. Defendants agreed to, and did in fact, act in

restraint of trade or commerce in Georgia, by affecting, fixing, controlling, and/or maintaining, at

artificial and non-competitive levels, the prices at which generic Baclofen were sold, distributed,

or obtained in Georgia. Defendants deliberately failed to disclose material facts to Plaintiffs and

members of the Damages Class concerning Defendants’ unlawful activities and artificially inflated

prices for generic Baclofen. Defendants misrepresented to all purchasers during the Class Period

that Defendants’ generic Baclofen prices were competitive and fair. Defendants’ unlawful conduct

had the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Georgia; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout Georgia. During the Class Period, Defendants’




                                                  - 84 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 88 of 108




illegal conduct had a substantial effect on Georgia commerce and consumers. As a direct and

proximate result of Defendants’ violations of law, Plaintiffs and members of the Damages Class

suffered an ascertainable loss of money or property as a result of Defendants’ use or employment

of unconscionable and deceptive commercial practices as set forth above and are threatened with

further injury. That loss was caused by Defendants’ willful and deceptive conduct, as described

herein. Defendants’ deception, including their affirmative misrepresentations and omissions

concerning the price of generic Baclofen, likely misled all purchasers acting reasonably under the

circumstances to believe that they were purchasing generic Baclofen at prices set by a free and fair

market. Defendants’ misleading conduct and unconscionable activities constitute violations of

Georgia Code § 10-1-370, et seq., and, accordingly, Plaintiffs and members of the Damages Class

seek all relief available under that statute and as equity demands.

       272.    Michigan: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Michigan Consumer Protection

Statute, Mich. Compiled Laws § 445.903, et seq. Defendants agreed to, and did in fact, act in

restraint of trade or commerce in Michigan, by affecting, fixing, controlling, and/or maintaining,

at artificial and non-competitive levels, the prices at which generic Baclofen were sold, distributed,

or obtained in Michigan. Defendants deliberately failed to disclose material facts to Plaintiffs and

members of the Damages Class concerning Defendants’ unlawful activities and artificially inflated

prices for generic Baclofen. Defendants misrepresented to all purchasers during the Class Period

that Defendants’ generic Baclofen prices were competitive and fair. Defendants’ unlawful conduct

had the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Michigan; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout Michigan. During the Class Period, Defendants’




                                                - 85 -
         Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 89 of 108




illegal conduct had a substantial effect on Michigan commerce and consumers. As a direct and

proximate result of Defendants’ violations of law, Plaintiffs and members of the Damages Class

suffered an ascertainable loss of money or property as a result of Defendants’ use or employment

of unconscionable and deceptive commercial practices as set forth above. That loss was caused by

Defendants’ willful and deceptive conduct, as described herein. Defendants’ deception, including

their affirmative misrepresentations and omissions concerning the price of generic Baclofen, likely

misled all purchasers acting reasonably under the circumstances to believe that they were

purchasing generic Baclofen at prices set by a free and fair market. Defendants’ misleading

conduct and unconscionable activities constitute violations of Mich. Compiled Laws § 445.903, et

seq., and, accordingly, Plaintiffs and members of the Damages Class seek all relief available under

that statute.

        273.    Minnesota: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Minnesota Uniform Deceptive

Trade Practices Act, Minn. Stat. § 325D.43, et seq. Defendants engaged in an unfair and deceptive

trade practices during the course of their business dealings, which significantly impacted Plaintiffs

as actual or potential consumers of the Defendants’ goods and which caused Plaintiffs to suffer

injury. Defendants took efforts to conceal their agreements from Plaintiffs. Defendants’ unlawful

conduct had the following effects: (1) generic Baclofen price competition was restrained,

suppressed, and eliminated throughout Minnesota; (2) generic Baclofen prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout Minnesota. During the Class

Period, Defendants’ illegal conduct substantially affected Minnesota commerce and consumers.

Defendants have engaged in unfair competition or unfair or deceptive acts or practices in violation




                                               - 86 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 90 of 108




of Minn. Stat. § 325D.43, et seq., and, accordingly, Plaintiffs and members of the Class seek all

relief available under that statute and as equity demands.

       274.    Nebraska: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Nebraska Consumer Protection

Act, Neb. Rev. Stat. § 59-1601, et seq. Defendants’ unlawful conduct had the following effects:

(1) generic Baclofen price competition was restrained, suppressed, and eliminated throughout

Nebraska; (2) generic Baclofen prices were raised, fixed, maintained, and stabilized at artificially

high levels throughout Nebraska. During the Class Period, Defendants marketed, sold, or

distributed generic Baclofen in Nebraska, and Defendants’ illegal conduct substantially affected

Nebraska commerce and consumers. Defendants have engaged in unfair competition or unfair or

deceptive acts or practices in violation of Neb. Rev. Stat. § 59-1601, et seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

       275.    Nevada: Defendants have engaged in unfair competition or unfair, unconscionable,

or deceptive acts or practices in violation of the Nevada Deceptive Trade Practices Act, Nev. Rev.

Stat. § 598.0903, et seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce

in Nevada, by affecting, fixing, controlling, and/or maintaining, at artificial and non-competitive

levels, the prices at which generic Baclofen were sold, distributed, or obtained in Nevada.

Defendants deliberately failed to disclose material facts to Plaintiffs and members of the Damages

Class concerning Defendants’ unlawful activities and artificially inflated prices for generic

Baclofen. Defendants misrepresented to all purchasers during the Class Period that Defendants’

generic Baclofen prices were competitive and fair. Defendants’ unlawful conduct had the

following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout Nevada; (2) generic Baclofen prices were raised, fixed, maintained, and




                                                - 87 -
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 91 of 108




stabilized at artificially high levels throughout Nevada. During the Class Period, Defendants’

illegal conduct had a substantial effect on Nevada commerce and consumers. As a direct and

proximate result of Defendants’ violations of law, Plaintiffs and members of the Damages Class

suffered an ascertainable loss of money or property as a result of Defendants’ use or employment

of unconscionable and deceptive commercial practices as set forth above. That loss was caused by

Defendants’ willful and deceptive conduct, as described herein. Defendants’ deception, including

their affirmative misrepresentations and omissions concerning the price of generic Baclofen, likely

misled all purchasers acting reasonably under the circumstances to believe that they were

purchasing generic Baclofen at prices set by a free and fair market. Defendants’ misleading

conduct and unconscionable activities constitute violations of Nev. Rev. Stat. § 598.0903, et seq.,

and, accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

statute.

           276.   New Hampshire: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the New Hampshire Consumer

Protection Act, N.H. Rev. Stat. § 358-A:1, et seq. Defendants’ unlawful conduct had the following

effects: (1) generic Baclofen price competition was restrained, suppressed, and eliminated

throughout New Hampshire; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout New Hampshire. During the Class Period,

Defendants marketed, sold, or distributed generic Baclofen in New Hampshire, and Defendants’

illegal conduct substantially affected New Hampshire commerce and consumers. As a direct and

proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the Damages Class

have been injured. Defendants have engaged in unfair competition or unfair or deceptive acts or




                                              - 88 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 92 of 108




practices in violation of N.H. Rev. Stat. § 358-A:1, et seq., and, accordingly, Plaintiffs and

members of the Damages Class seek all relief available under that statute.

       277.    New Jersey: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the New Jersey Consumer Fraud Act,

N.J. Statutes § 56:8-1, et seq. Defendants agreed to, and did in fact, act in restraint of trade or

commerce in New Jersey, by affecting, fixing, controlling, and/or maintaining, at artificial and

non-competitive levels, the prices at which generic Baclofen were sold, distributed, or obtained in

New Jersey. Defendants deliberately failed to disclose material facts to Plaintiffs and members of

the Damages Class concerning Defendants’ unlawful activities and artificially inflated prices for

generic Baclofen. Defendants misrepresented to all purchasers during the Class Period that

Defendants’ generic Baclofen prices were competitive and fair. Defendants’ unlawful conduct had

the following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout New Jersey; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout New Jersey. During the Class Period, Defendants’

illegal conduct had a substantial effect on New Jersey commerce and consumers. As a direct and

proximate result of Defendants’ violations of law, Plaintiffs and members of the Damages Class

suffered an ascertainable loss of money or property as a result of Defendants’ use or employment

of unconscionable and deceptive commercial practices as set forth above. That loss was caused by

Defendants’ willful and deceptive conduct, as described herein. Defendants’ deception, including

their affirmative misrepresentations and omissions concerning the price of generic Baclofen, likely

misled all purchasers acting reasonably under the circumstances to believe that they were

purchasing generic Baclofen at prices set by a free and fair market. Defendants’ misleading

conduct and unconscionable activities constitute violations of N.J. Statutes § 56:8-1, et seq., and,




                                               - 89 -
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 93 of 108




accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

statute.

           278.   New Mexico: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et

seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing,

controlling and/or maintaining at non-competitive and artificially inflated levels, the prices at

which generic Baclofen were sold, distributed or obtained in New Mexico and took efforts to

conceal their agreements from Plaintiffs and members of the Damages Class. The aforementioned

conduct on the part of Defendants constituted “unconscionable trade practices,” in violation of

N.M.S.A. Stat. § 57-12-3, in that such conduct, inter alia, resulted in a gross disparity between the

value received by Plaintiffs and members of the Damages Class and the prices paid by them for

generic Baclofen as set forth in N.M.S.A., § 57-12-2E. Plaintiffs and members of the Damages

Class were not aware of Defendants’ price-fixing conspiracy and were therefore unaware that they

were being unfairly and illegally overcharged. Defendants had the sole power to set that price, and

Plaintiffs and members of the Damages Class had no power to negotiate a lower price. Moreover,

Plaintiffs and members of the Damages Class lacked any meaningful choice in purchasing generic

Baclofen because they were unaware of the unlawful overcharge, and there was no alternative

source of supply through which Plaintiffs and members of the Damages Class could avoid the

overcharges. Defendants’ conduct with regard to sales of generic Baclofen, including their illegal

conspiracy to secretly fix the price of generic Baclofen at supracompetitive levels and overcharge

consumers, was substantively unconscionable because it was one-sided and unfairly benefited

Defendants at the expense of Plaintiffs and the public. Defendants took grossly unfair advantage

of Plaintiffs and members of the Damages Class. The suppression of competition that has resulted




                                                - 90 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 94 of 108




from Defendants’ conspiracy has ultimately resulted in unconscionably higher prices for

consumers so that there was a gross disparity between the price paid and the value received for

generic Baclofen. Defendants’ unlawful conduct had the following effects: (1) generic Baclofen

price competition was restrained, suppressed, and eliminated throughout New Mexico; (2) generic

Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

New Mexico. During the Class Period, Defendants’ illegal conduct substantially affected New

Mexico commerce and consumers. As a direct and proximate result of the unlawful conduct of

Defendants, Plaintiffs and members of the Damages Class have been injured and are threatened

with further injury. Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of New Mexico Stat. § 57-12-1, et seq., and, accordingly, Plaintiffs and

members of the Damages Class seek all relief available under that statute.

       279.    New York: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

Defendants agreed to, and did in fact, act in restraint of trade or commerce by affecting, fixing,

controlling and/or maintaining, at artificial and non-competitive levels, the prices at which generic

Baclofen were sold, distributed or obtained in New York and took efforts to conceal their

agreements from Plaintiffs and members of the Damages Class. Defendants and their co-

conspirators made public statements about the prices of generic Baclofen that either omitted

material information that rendered the statements that they made materially misleading or

affirmatively misrepresented the real cause of price increases for generic Baclofen; and Defendants

alone possessed material information that was relevant to consumers, but failed to provide the

information. Because of Defendants’ unlawful trade practices in the State of New York, New York

class members who indirectly purchased generic Baclofen were misled to believe that they were




                                               - 91 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 95 of 108




paying a fair price for generic Baclofen or the price increases for generic Baclofen were for valid

business reasons; and similarly situated consumers were affected by Defendants’ conspiracy.

Defendants knew that their unlawful trade practices with respect to pricing generic Baclofen would

have an impact on New York consumers and not just Defendants’ direct customers. Defendants

knew that their unlawful trade practices with respect to pricing generic Baclofen would have a

broad impact, causing consumer class members who indirectly purchased generic Baclofen to be

injured by paying more for generic Baclofen than they would have paid in the absence of

Defendants’ unlawful trade acts and practices. The conduct of Defendants described herein

constitutes consumer-oriented deceptive acts or practices within the meaning of N.Y. Gen. Bus.

Law § 349, which resulted in consumer injury and broad adverse impact on the public at large, and

harmed the public interest of consumers in New York State in an honest marketplace in which

economic activity is conducted in a competitive manner. Defendants’ unlawful conduct had the

following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout New York; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout New York. During the Class Period, Defendants

marketed, sold, or distributed generic Baclofen in New York, and Defendants’ illegal conduct

substantially affected New York commerce and consumers. During the Class Period, each of

Defendants named herein, directly, or indirectly and through affiliates they dominated and

controlled, manufactured, sold and/or distributed generic Baclofen in New York. Plaintiffs and

members of the Damages Class seek all relief available pursuant to N.Y. Gen. Bus. Law § 349(h).

       280.    North Carolina: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1,

et seq. Defendants agreed to, and did in fact, act in restraint of trade or commerce by affecting,




                                              - 92 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 96 of 108




fixing, controlling and/or maintaining, at artificial and non-competitive levels, the prices at which

generic Baclofen were sold, distributed or obtained in North Carolina and took efforts to conceal

their agreements from Plaintiffs and members of the Damages Class. Defendants’ price-fixing

conspiracy could not have succeeded absent deceptive conduct by Defendants to cover up their

illegal acts. Secrecy was integral to the formation, implementation and maintenance of

Defendants’ price-fixing conspiracy. Defendants committed inherently deceptive and self-

concealing actions, of which Plaintiffs and members of the Damages Class could not possibly have

been aware. Defendants and their co-conspirators publicly provided pretextual and false

justifications regarding their price increases. Defendants’ public statements concerning the price

of generic Baclofen created the illusion of competitive pricing controlled by market forces rather

than supracompetitive pricing driven by Defendants’ illegal conspiracy. Moreover, Defendants

deceptively concealed their unlawful activities by mutually agreeing not to divulge the existence

of the conspiracy to outsiders. The conduct of Defendants described herein constitutes consumer-

oriented deceptive acts or practices within the meaning of North Carolina law, which resulted in

consumer injury and broad adverse impact on the public at large, and harmed the public interest

of North Carolina consumers in an honest marketplace in which economic activity is conducted in

a competitive manner. Defendants’ unlawful conduct had the following effects: (1) generic

Baclofen price competition was restrained, suppressed, and eliminated throughout North Carolina;

(2) generic Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout North Carolina. During the Class Period, Defendants marketed, sold, or distributed

generic Baclofen in North Carolina, and Defendants’ illegal conduct substantially affected North

Carolina commerce and consumers. During the Class Period, each of Defendants named herein,

directly, or indirectly and through affiliates they dominated and controlled, manufactured, sold




                                                - 93 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 97 of 108




and/or distributed generic Baclofen in North Carolina. Plaintiffs and members of the Damages

Class seek actual damages for their injuries caused by these violations in an amount to be

determined at trial and are threatened with further injury. Defendants have engaged in unfair

competition or unfair or deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-

1.1, et seq., and, accordingly, Plaintiffs and members of the Damages Class seek all relief available

under that statute.

       281.    North Dakota: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the North Dakota Unlawful Sales or

Advertising Practices Statute, N.D. Century Code § 51-15-01, et seq. Defendants agreed to, and

did in fact, act in restraint of trade or commerce in North Dakota, by affecting, fixing, controlling,

and/or maintaining, at artificial and non-competitive levels, the prices at which generic Baclofen

were sold, distributed, or obtained in North Dakota. Defendants deliberately failed to disclose

material facts to Plaintiffs and members of the Damages Class concerning Defendants’ unlawful

activities and artificially inflated prices for generic Baclofen. Defendants misrepresented to all

purchasers during the Class Period that Defendants’ generic Baclofen prices were competitive and

fair. Defendants’ unlawful conduct had the following effects: (1) generic Baclofen price

competition was restrained, suppressed, and eliminated throughout North Dakota; (2) generic

Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

North Dakota. During the Class Period, Defendants’ illegal conduct had a substantial effect on

North Dakota commerce and consumers. As a direct and proximate result of Defendants’

violations of law, Plaintiffs and members of the Damages Class suffered an ascertainable loss of

money or property as a result of Defendants’ use or employment of unconscionable and deceptive

commercial practices as set forth above. That loss was caused by Defendants’ willful and deceptive




                                                - 94 -
           Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 98 of 108




conduct,      as    described   herein.   Defendants’    deception,   including   their   affirmative

misrepresentations and omissions concerning the price of generic Baclofen, likely misled all

purchasers acting reasonably under the circumstances to believe that they were purchasing generic

Baclofen at prices set by a free and fair market. Defendants’ misleading conduct and

unconscionable activities constitute violations of N.D. Century Code § 51-15-01, et seq., and,

accordingly, Plaintiffs and members of the Damages Class seek all relief available under that

statute.

           282.    South Carolina: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of South Carolina Unfair Trade

Practices Act, S.C. Code Ann. § 39-5-10, et seq. Defendants’ combination or conspiracy had the

following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout South Carolina; (2) generic Baclofen prices were raised, fixed, maintained,

and stabilized at artificially high levels throughout South Carolina. During the Class Period,

Defendants’ illegal conduct had a substantial effect on South Carolina commerce and consumers.

As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and members of the

Damages Class have been injured in their business and property and are threatened with further

injury. Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

violation of S.C. Code Ann. § 39-5-10, et seq., and, accordingly, Plaintiffs and the members of the

Damages Class seek all relief available under that statute.

           283.    South Dakota: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the South Dakota Deceptive Trade

Practices and Consumer Protection Statute, S.D. Codified Laws § 37-24-1, et seq. Defendants

agreed to, and did in fact, act in restraint of trade or commerce in South Dakota, by affecting,




                                                - 95 -
        Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 99 of 108




fixing, controlling, and/or maintaining, at artificial and non-competitive levels, the prices at which

generic Baclofen were sold, distributed, or obtained in South Dakota. Defendants deliberately

failed to disclose material facts to Plaintiffs and members of the Damages Class concerning

Defendants’ unlawful activities and artificially inflated prices for generic Baclofen. Defendants

misrepresented to all purchasers during the Class Period that Defendants’ generic Baclofen prices

were competitive and fair. Defendants’ unlawful conduct had the following effects: (1) generic

Baclofen price competition was restrained, suppressed, and eliminated throughout South Dakota;

(2) generic Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout South Dakota. Defendants’ illegal conduct substantially affected South Dakota

commerce and consumers. As a direct and proximate result of Defendants’ violations of law,

Plaintiffs and members of the Damages Class suffered an ascertainable loss of money or property

as a result of Defendants’ use or employment of unconscionable and deceptive commercial

practices as set forth above. That loss was caused by Defendants’ willful and deceptive conduct,

as described herein. Defendants’ deception, including their affirmative misrepresentations and

omissions concerning the price of generic Baclofen, likely misled all purchasers acting reasonably

under the circumstances to believe that they were purchasing generic Baclofen at prices set by a

free and fair market. Defendants’ affirmative misrepresentations and omissions constitute

information important to Plaintiffs and members of the Damages Class as they related to the cost

of generic Baclofen they purchased. Defendants have engaged in unfair competition or unfair or

deceptive acts or practices in violation of S.D. Codified Laws § 37-24-1, et seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

       284.    West Virginia: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the West Virginia Consumer Credit




                                                - 96 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 100 of 108




and Protection Act, W.Va. Code § 46A-6-101, et seq. Defendants agreed to, and did in fact, act in

restraint of trade or commerce in a market that includes West Virginia, by affecting, fixing,

controlling, and/or maintaining, at artificial and non-competitive levels, the prices at which generic

Baclofen were sold, distributed, or obtained in West Virginia. Defendants deliberately failed to

disclose material facts to Plaintiffs and members of the Damages Class concerning Defendants’

unlawful activities and artificially inflated prices for generic Baclofen. Defendants affirmatively

misrepresented to all purchasers during the Class Period that Defendants’ generic Baclofen prices

were competitive and fair. Defendants’ unlawful conduct had the following effects: (1) generic

Baclofen price competition was restrained, suppressed, and eliminated throughout West Virginia;

(2) generic Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels

throughout West Virginia. Defendants’ illegal conduct substantially affected West Virginia

commerce and consumers. As a direct and proximate result of Defendants’ violations of law,

Plaintiffs and members of the Damages Class suffered an ascertainable loss of money or property

as a result of Defendants’ use or employment of unconscionable and deceptive commercial

practices as set forth above. That loss was caused by Defendants’ willful and deceptive conduct,

as described herein. Defendants’ deception, including their affirmative misrepresentations and

omissions concerning the price of generic Baclofen, likely misled all purchasers acting reasonably

under the circumstances to believe that they were purchasing generic Baclofen at prices set by a

free and fair market. Defendants’ affirmative misrepresentations and omissions constitute

information important to Plaintiffs and members of the Damages Class as they related to the cost

of generic Baclofen they purchased. Defendants have engaged in unfair competition or unfair or




                                                - 97 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 101 of 108




deceptive acts or practices in violation of W.Va. Code § 46A-6-101, et seq., and, accordingly,

Plaintiffs and members of the Damages Class seek all relief available under that statute.

       285.    Wisconsin: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the Wisconsin Consumer Protection

Statutes, Wisc. Stat. § 100.18, et seq. Defendants agreed to, and did in fact, act in restraint of trade

or commerce in a market that includes Wisconsin, by affecting, fixing, controlling, and/or

maintaining, at artificial and non-competitive levels, the prices at which generic Baclofen were

sold, distributed, or obtained in Wisconsin. Defendants affirmatively misrepresented to all

purchasers during the Class Period that Defendants’ generic Baclofen prices were competitive and

fair. Defendants’ unlawful conduct had the following effects: (1) generic Baclofen price

competition was restrained, suppressed, and eliminated throughout Wisconsin; (2) generic

Baclofen prices were raised, fixed, maintained, and stabilized at artificially high levels throughout

Wisconsin. Defendants’ illegal conduct substantially affected Wisconsin commerce and

consumers. As a direct and proximate result of Defendants’ violations of law, Plaintiffs and

members of the Damages Class suffered an ascertainable loss of money or property as a result of

Defendants’ use or employment of unconscionable and deceptive commercial practices as set forth

above. That loss was caused by Defendants’ willful and deceptive conduct, as described herein.

Defendants’ deception, including their affirmative misrepresentations concerning the price of

generic Baclofen, likely misled all purchasers acting reasonably under the circumstances to believe

that they were purchasing generic Baclofen at prices set by a free and fair market. Defendants’

affirmative misrepresentations constitute information important to Plaintiffs and members of the

Damages Class as they related to the cost of generic Baclofen they purchased. Defendants have

engaged in unfair competition or unfair or deceptive acts or practices in violation of Wisc. Stat. §




                                                 - 98 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 102 of 108




100.18, et seq., and, accordingly, Plaintiffs and members of the Damages Class seek all relief

available under that statute.

       286.    U.S. Virgin Islands: Defendants have engaged in unfair competition or unfair,

unconscionable, or deceptive acts or practices in violation of the U.S. Virgin Islands Consumer

Fraud and Deceptive Business Practices Act, 12A V.I.C. §§ 102, 301-35, et seq. Defendants

agreed to, and did in fact, act in restraint of trade or commerce in a market that includes U.S.V.I.,

by affecting, fixing, controlling, and/or maintaining, at artificial and non-competitive levels, the

prices at which generic Baclofen were sold, distributed, or obtained in U.S.V.I. Defendants

deliberately failed to disclose material facts to Plaintiffs and members of the Damages Class

concerning Defendants’ unlawful activities and artificially inflated prices for generic Baclofen.

Defendants affirmatively misrepresented to all purchasers during the Class Period that Defendants’

generic Baclofen prices were competitive and fair. Defendants’ unlawful conduct had the

following effects: (1) generic Baclofen price competition was restrained, suppressed, and

eliminated throughout U.S.V.I.; (2) generic Baclofen prices were raised, fixed, maintained, and

stabilized at artificially high levels throughout U.S.V.I.. Defendants’ illegal conduct substantially

affected U.S.V.I. commerce and consumers. As a direct and proximate result of Defendants’

violations of law, Plaintiffs and members of the Damages Class suffered an ascertainable loss of

money or property as a result of Defendants’ use or employment of unconscionable and deceptive

commercial practices as set forth above and are threatened with further injury. That loss was caused

by Defendants’ willful and deceptive conduct, as described herein. Defendants’ deception,

including their affirmative misrepresentations and omissions concerning the price of generic

Baclofen, likely misled all purchasers acting reasonably under the circumstances to believe that

they were purchasing generic Baclofen at prices set by a free and fair market. Defendants’




                                               - 99 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 103 of 108




affirmative misrepresentations and omissions constitute information important to Plaintiffs and

members of the Damages Class as they related to the cost of generic Baclofen they purchased.

Defendants have engaged in unfair competition or unfair or deceptive acts or practices in violation

of 12A V.I.C. §§ 102, 301-35, et seq., and, accordingly, Plaintiffs and members of the Damages

Class seek all relief available under that statute and as equity demands.

                                          FOURTH COUNT

                                        Unjust Enrichment67
                          (on behalf of Plaintiffs and the Damages Class)

          287.   Plaintiffs incorporate by reference the allegations set forth above as if fully set forth

herein.

          288.   To the extent required, this claim is pleaded in the alternative to the other claims in

this Complaint. This claim is brought under the equity precedents of each of the IRP Damages

Jurisdictions.

          289.   Defendants have unlawfully benefited from their sales of generic Baclofen because

of the unlawful and inequitable acts alleged in this Complaint. Defendants unlawfully overcharged

privately held pharmacies, who purchased generic Baclofen at prices that were more than they

would have been but for Defendants’ unlawful actions.




          67
         Unjust enrichment claims are alleged herein under the laws of Alabama, Alaska,
Arizona, Arkansas, California, Colorado, Delaware, Florida, Georgia, Idaho, Illinois, Iowa,
Kansas, Louisiana, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi,
Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,
North Carolina, North Dakota, Oregon, Pennsylvania, Rhode Island, South Carolina, South
Dakota, Tennessee, Texas, Utah, Vermont, Virginia, Washington, West Virginia, Wisconsin and
Wyoming as well as the District of Columbia, Puerto Rico and the U.S. Virgin Islands




                                                 - 100 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 104 of 108




       290.    Defendants’ financial benefits resulting from their unlawful and inequitable acts

are traceable to overpayments by Plaintiffs and members of the Damages Class.

       291.    Plaintiffs and the Damages Class have conferred upon Defendants an economic

benefit, in the nature of profits resulting from unlawful overcharges, to the economic detriment of

Plaintiffs and the Damages Class.

       292.    Defendants have been enriched by revenue resulting from unlawful overcharges for

generic Baclofen while Plaintiffs have been impoverished by the overcharges they paid for generic

Baclofen imposed through Defendants’ unlawful conduct. Defendants’ enrichment and Plaintiffs’

impoverishment are connected.

       293.    There is no justification for Defendants’ retention of, and enrichment from, the

benefits they received, which caused impoverishment to Plaintiffs and the Damages Class, because

Plaintiffs and the Damages Class paid supracompetitive prices that inured to Defendants’ benefit,

and it would be inequitable for Defendants to retain any revenue gained from their unlawful

overcharges.

       294.    Plaintiffs did not interfere with Defendants’ affairs in any manner that conferred

these benefits upon Defendants.

       295.    The benefits conferred upon Defendants were not gratuitous, in that they

constituted revenue created by unlawful overcharges arising from Defendants’ illegal and unfair

actions to inflate the prices of generic Baclofen.

       296.    The benefits conferred upon Defendants are measurable, in that the revenue

Defendants have earned due to their unlawful overcharges of generic Baclofen are ascertainable

by review of sales records.




                                               - 101 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 105 of 108




          297.   It would be futile for Plaintiffs and the Damages Class to seek a remedy from any

party with whom they have privity of contract. Defendants have paid no consideration to any other

person for any of the unlawful benefits they received indirectly from Plaintiffs and the Damages

Class with respect to Defendants’ sales of generic Baclofen.

          298.   It would be futile for Plaintiffs and the Damages Class to seek to exhaust any

remedy against the immediate intermediary in the chain of distribution from which they indirectly

purchased generic Baclofen, as the intermediaries are not liable and cannot reasonably be expected

to compensate Plaintiffs and the Damages Class for Defendants’ unlawful conduct.

          299.   The economic benefit of overcharges and monopoly profits derived by Defendants

through charging supracompetitive and artificially inflated prices for generic Baclofen is a direct

and proximate result of Defendants’ unlawful practices.

          300.   The financial benefits derived by Defendants rightfully belong to Plaintiffs and the

Damages Class, because Plaintiffs and the Damages Class paid supracompetitive prices during the

Class Period, inuring to the benefit of Defendants.

          301.   It would be inequitable under unjust enrichment principles under the law of the

District of Columbia and the laws of all states and territories of the United States, except Ohio and

Indiana, for Defendants to be permitted to retain any of the overcharges for generic Baclofen

derived from Defendants’ unlawful, unfair and unconscionable methods, acts, and trade practices

alleged in this Complaint.

          302.   Defendants are aware of and appreciate the benefits bestowed upon them by

Plaintiffs and the Damages Class. Defendants consciously accepted the benefits and continue to

do so as of the date of this filing, as generic Baclofen prices remain inflated above pre-conspiracy

levels.




                                               - 102 -
       Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 106 of 108




       303.    Defendants should be compelled to disgorge in a common fund for the benefit of

Plaintiffs and the Damages Class all unlawful or inequitable proceeds they received from their

sales of generic Baclofen.

       304.    A constructive trust should be imposed upon all unlawful or inequitable sums

received by Defendants traceable to indirect purchases of generic Baclofen by Plaintiffs and the

Damages Class. Plaintiffs and the Damages Class have no adequate remedy at law.

                                  XIII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs demand judgment for the following relief:
       A.      The Court determine that this action may be maintained as a class action under Rule

23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure, and direct that reasonable Notice

of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to

each and every member of the Class;

       B.      That the unlawful conduct, contract, conspiracy, or combination alleged herein be

adjudged and decreed: (a) an unreasonable restraint of trade or commerce in violation of Section

1 of the Sherman Act; (b) a per se violation of Section 1 of the Sherman Act; (c) an unlawful

combination, trust, agreement, understanding and/or concert of action in violation of the state

antitrust and unfair competition and consumer protection laws as set forth herein; and (d) acts of

unjust enrichment by Defendants as set forth herein.

       C.      Plaintiffs and members of the Damages Class recover damages, to the maximum

extent allowed under such state laws, and that a judgment in favor of Plaintiffs and members of

the Damages Class be entered against Defendants jointly and severally in an amount to be trebled

to the extent such laws permit;




                                              - 103 -
          Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 107 of 108




          D.     Plaintiffs and members of the Damages Class recover damages, to the maximum

extent allowed by such laws, in the form of restitution and/or disgorgement of profits unlawfully

obtained;

          E.     Plaintiffs and members of the Damages Class be awarded restitution, including

disgorgement of profits Defendants obtained as a result of their acts of unfair competition and acts

of unjust enrichment, and the Court establish of a constructive trust consisting of all ill-gotten

gains from which Plaintiffs and members of the Damages Class may make claims on a pro rata

basis;

          F.     Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any manner

continuing, maintaining or renewing the conduct, contract, conspiracy, or combination alleged

herein, or from entering into any other contract, conspiracy, or combination having a similar

purpose or effect, and from adopting or following any practice, plan, program, or device having a

similar purpose or effect;

          G.     Plaintiffs and members of the Classes be awarded pre- and post- judgment interest

as provided by law, and that such interest be awarded at the highest legal rate;

          H.     Plaintiffs and members of the Classes recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

          I.     Plaintiffs and members of the Classes have such other and further relief as the case

may require and the Court may deem just and proper.

                                       XIV. JURY DEMAND

         Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

Procedure, of all issues so triable.


                                               - 104 -
   Case 2:17-cv-03808-CMR Document 1 Filed 08/15/17 Page 108 of 108




    Dated: August 15, 2017                        Respectfully submitted,


                                          /s/ Jonathan W. Cuneo

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                                - 105 -
